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 8   California Highway Patrol

 9                                IN THE UNITED STATES DISTRICT COURT

10                             FOR THE EASTERN DISTRICT OF CALIFORNIA

11

12
     ADRIAN ROMERO, JR.,                                          Temporary Case No.: 2:21-at-01012
13
                                                   Plaintiff, Superior Court No.: 34-2021-00305203
14
                      v.                                          NOTICE OF REMOVAL OF CIVIL
15                                                                ACTION TO THE UNITED STATES
                                                                  DISTRICT COURT FOR THE EASTERN
16   CALIFORNIA HIGHWAY PATROL, and                               DISTRICT OF CALIFORNIA
     DOES 1 THROUGH 20, inclusive,                                PURSUANT TO 28 U.S.C. §§ 1331 AND
17                                                                1441(b) (FEDERAL QUESTION)
                                               Defendants.
18
                                                                  Action Filed: July 30, 2021
19

20

21

22

23

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                                                              1
      Notice of Removal of Civil Action to the United States District Court for the Eastern District of California Pursuant
                                            to 28 U.S.C. §§ 1331 and 1441 (b) (Federal Question) (34-2021-00305203)
      Case 2:21-cv-01978-JAM-DB Document 1 Filed 10/26/21 Page 2 of 55


 1          TO THE CLERK OF THE UNITED STATES FEDERAL COURT FOR THE EASTERN

 2   DISTRICT OF CALIFORNIA:

 3          PLEASE TAKE NOTICE that Defendant California Highway Patrol (“CHP”) hereby

 4   removes this above-entitled action to this Court from the Superior Court of the State of

 5   California, County of Sacramento. The grounds for removal are as follows:

 6          1. On July 30, 2021, Plaintiff Adrian Romero, Jr. filed a complaint in the Superior Court

 7               of the State of California, in and for the County of Sacramento, entitled Adrian Romero,

 8               Jr. v. California Highway Patrol, designated as case number 34-2021-00305203. A

 9               copy of this complaint is attached thereto as Exhibit A. Plaintiff did not serve this

10               complaint on CHP.

11          2. On September 28, 2021, Plaintiff filed a First Amended Complaint (“FAC”). A copy of

12               the summons and FAC are attached thereto as Exhibit B.

13          3. Plaintiff’s FAC purports to allege causes of action against CHP for (1) Discrimination

14               in Violation of the Americans with Disabilities Act, 42 U.S.C. § 12203 et seq.; (2)

15               Whistleblower Retaliation in Violation of Cal. Labor Code § 1102.5; (3) Violation of

16               California Whistleblower Protection Act, Cal. Gov. Code § 8547 et seq.; (4)

17               Harassment in Violation of the Fair Employment and Housing Act, Cal. Gov. Code §

18               12940(j); (5) Retaliation in Violation of the Fair Employment and Housing Act, Cal.

19               Gov. Code § 12940(h); and (6) Failure to Prevent Discrimination, Harassment, and

20               Retaliation in Violation of the Fair Employment and Housing Act, Cal. Gov. Code §

21               12940(k).

22          4. On September 28, 2021, Plaintiff served his FAC upon CHP by personal service. CHP

23               is the only defendant named in this action, as of the date of this removal.

24          5. This action is a civil action of which this Court has original jurisdiction under 28 U.S.C.

25               § 1331 and is one which may be removed to this Court by CHP pursuant to 28 U.S.C. §

26               1441(b) by virtue of Plaintiff’s first cause of action under the Americans with

27               Disabilities Act, 42 U.S.C. § 12203 et seq.

28   ///
                                                               1
       Notice of Removal of Civil Action to the United States District Court for the Eastern District of California Pursuant
                                             to 28 U.S.C. §§ 1331 and 1441 (b) (Federal Question) (34-2021-00305203)
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 1         6. CHP has not filed an Answer in the Superior Court of California, County of

 2              Sacramento, for this action.

 3         7. This Notice of Removal is filed within thirty days after CHP was served a copy of the

 4              Summons and Complaint in this case and within one year after the state court action

 5              was filed. The Notice is also filed within thirty days of CHP’s knowledge of its ability

 6              to remove. This Notice is therefore filed within the time period prescribed by 28 U.S.C.

 7              § 1446(b).

 8         8. Venue lies in the United States District Court for the Eastern District of California

 9              pursuant to 28 U.S.C. §§ 1391(a) & 1441(a) because the state action was filed in this

10              District, and this is the judicial district in which the action arose.

11         WHEREFORE CHP prays that the above action now pending against it in the Superior

12   Court of the State of California, County of Sacramento, be removed to this Court.

13   Dated: October 25, 2021                                       Respectfully submitted,
14                                                                 ROB BONTA
                                                                   Attorney General of California
15                                                                 ANDREA R. AUSTIN
                                                                   Supervising Deputy Attorney General
16

17

18
                                                                   DAVID S. KIM
19                                                                 Deputy Attorney General
                                                                   Attorneys for Defendant
20                                                                 California Highway Patrol
     SA2021304925
21   35558687.docx

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                                                              2
      Notice of Removal of Civil Action to the United States District Court for the Eastern District of California Pursuant
                                            to 28 U.S.C. §§ 1331 and 1441 (b) (Federal Question) (34-2021-00305203)
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                       EXHIBIT A
       Case 2:21-cv-01978-JAM-DB Document 1 Filed 10/26/21 Page 5 of 55

                                                        Supenor Court Of Califorfiia,
 1DENISE EATON-MAY, ESQ. (SBN 116780)
  LAW OFFICES OF DENISE EATON-MAY, PC                   07/30/2021
2 1290 B Street, Suite 316
  Hayward CA 94541
3
  Tel.: 510.888.1345                                                          Deputy
                                                        Case Wutnber
4 Fax: 510.315.3015
  Einail: denise.may(^eaton-maylaw.com
 5
     Attomey for Plaintiff
 6 ADRIAN ROMERO, JR
 7
 8                      SUPERIOR COURT FOR THE STATE OF CALIFORNIA

 9                               COUNTY OF SACRAMENTO

10
11   ADRIAN ROMERO, JR.,                   CASE NO.:
12 Plaintiff,
                                           COMPLAINT FOR DAMAGES
13
                vs.                             Discrimination -Violation of Americans
14                                              With Disabilities Act (ADA) (42 U.S.C
                                                § 12203 et. seq.) and Fair Employment
15                                              and Housing Act (FEHA) (Gov Code §
     CALIFORNIA HIGHWAY PATROL,
                                                12940(a)
16        AND DOES 1 THROUGH 20,
          inclusive                        2.   Whistleblower Retaliation -(Cal. Labor
17                                              Code 1102.5
                                           3.   Violation of California Whistleblower
18 Defendants.                                  Protection Act (WPA)- Cal Gov. Code
                                                § 8547 et seq.
19                                         4.   Harassment- Violation of FEHA (Cal.
                                                Gov. Code § 129400))
20                                         5.   Retaliation - Violation of FEHA(Cal.
                                                Gov. Code § 12940(h)
21
                                           6.   Failure To Prevent Discrimination,
22                                              Harassment And Retaliation In
                                                Violation of FEHA (Cal. Gov. Code §
23                                              12940(k)

24                                         DEMAND FOR JURY TRIAL
25
26
27
28


                                            1
                                        COMPLAINT
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 1                                          INTRODUCTION
 2            1.   Plaintiff Adrian Romero Jr. ("Plaintiff or "Mr. Romero"), by and through undersigned
 3
     counsel, files this civil action Complaint and Jury Demand ("Complaint") against Defendant
 4
     Califomia Highway Patrol ("Defendant" or "CHP"). Plaintiff brings this action against his employer,
 5
     the Califomia Highway Patrol (hereinafter referred to as "CHP" and/or "Defendant") for
 6
 7 discrimination, harassment and retaliation based on Plaintiff engaging in protective activity in
 8 violation of state and federal laws.
 9           2.    The following allegations are based on personal knowledge as to Plaintiffs own
10 conduct and on information and belief as to the acts of others.
11
     NATURE OF COMPLAINT
12
             3.    This is a civil action in which Plaintiff, has been retaliated against at his place of
13
     employment as an Information Technology Supervisor I with the Califomia Highway Patrol ("CHP"),
14
15 as a result of engaging in protective activity when he reported a discrimination claim and exposing
16 improper hiring practices by his direct Manager, Corleen Lambert.
17           4.    Immediately after reporting said conduct. Plaintiff received a series of adverse
18
     employment actions affecting his terms and conditions of employment, ranging from various
19
     disciplinary actions including, but not limited to a negative Performance Appraisal and denial of
20
     timely Merit Salary Increase. Defendant also wrongfiilly placed Plaintiff on Interim Reporting,
21
22 wrongfiilly issued a Memorandum of Counseling, wrongfiilly issued Plaintiff a Memorandum of
23 Direction, and engaged in continuous, severe, and pervasive harassing behavior causing Plaintiff




26
27
     /•
24 damages.
25

     //

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28


                                                    2
                                                COMPLAINT
          Case 2:21-cv-01978-JAM-DB Document 1 Filed 10/26/21 Page 7 of 55


 1                                             THE PARTIES
 2           5.     Plaintiff, at all relevant times, is a resident in the County of Sacramento, State of
 3 Califomia. At all times material to this action, Plaintiff was an employee of Defendant, the
 4
     CALIFORNIA HIGHWAY PATROL ("CHP").
 5
 6           6.     Plaintiff is informed and believes and alleges thereon that Defendant CALIFORNIA

 7 HIGHWAY PATROL ("CHP") is, at all times relevant hereto, has been and is a state law
 8 enforcement agency, organized as part bf the Califomia State Transportation Agency ("CALSTA")
 9
     maintaining a place of business at 601 N. 7th Street, Bldg. C Sacramento, CA 95811. CHP is a public
10
     entity within the definition of Califomia Govemment Code § 811.2.
11
             7.     At all times relevant hereto. Defendant CHP was acting through its agents, servants,
12
13 and employees, who were acting within the scope of their authority, course of their employment, and
14 under the direct control of the Defendant CHP.
15           8.     The tme names and capacities of Defendants named as DOES 1 through 20, inclusive,
16
     are presently unknown to Plaintiff. Therefore, Plaintiff sues said Defendants pursuant to Section 474
17
     of the Code of Civil Procedure. Plaintiff will amend this complaint to set forth the tme names and
18
     capacities of said Defendants, when ascertained. Plaintiff is informed and believes and thereon alleges
19
20 that each of the fictitiously named Defendants is responsible in some manner for the occurrences
21   herein alleged, and that Plaintiffs damages as herein alleged were proximately caused by their
22   conduct.
23
             9.     Plaintiff is informed and believes, and thereon alleges, that at all times herein
24
     mentioned, each Defendant named herein, was the agent and or employee of each of the remaining
25
     Defendants, and in doing the things hereinafter alleged, was acting within the course and scope of
26
27   such agency and or employment.

28   //



                                                      3
                                                  COMPLAINT
       Case 2:21-cv-01978-JAM-DB Document 1 Filed 10/26/21 Page 8 of 55


 1                                    JURISDICTION AND VENUE
 2
             10.    This is a complaint for damages for unlawful discrimination, harassment, and
 3
 4 retaliation in employment, brought pursuant to the Fair Housing and Employment Act (FEHA) (Gov
 5 Code § 12940 et seq., and Title I of the Americans with Disabilities Act of 1990, as amended (ADA)
 6 (42 U.S.C § 12203 et. seq.). This Court has jurisdiction over this matter in that the Plaintiff lives in
 7 Sacramento County and the Defendant's primary office is located in Sacramento County.
 8
             11.    Venue is proper pursuant to Cal. Civ. Proc. Code sec. 394(a).The events giving rise to
 9
     the claims made herein occurred in Sacramento County, and Defendant CHP has its principal place
10
     of business/headquarters in Sacramento County.
11
12                        EXHAUSTION OF ADMINISTRATIVE REMEDIES

13           12.    On or about March 9, 2020, Plaintiff filed a charge of discrimination with the Equal
14 Employment Opportunity Commission ("EEOC") which was automatically dual filed with the
15
     Califomia Department of Fair Employment and Housing (FEHA). On March 18, 2020, Plaintiff
16
     received a Right to Sue frorn the DFEH which allows Plaintiff to file a lawsuit within one year from
17
     the date of the DFEH's notice of Right to Sue or within 90 days from receipt of the federal right to
18
19 sue letter, whichever is later. The EEOC by and through the U.S. Department of Justice ("DOJ")issued
20 a Notice of Right to Sue on April 30, 2021 and the same was received through electronic message on
21   the same date. Accordingly, Plaintiff has exhausted his adminisfrative remedies as to his
22 discrimination claims. On or about October 14, 2020, plaintiff filed a claim with the State Personnel
23
     Board. In December 2020, the State Personnel Board authorized Plaintiff to pursue civil action under
24
     Govemment Code 8547.
25
26                                 PROCEDURAL BACKGROUND

27           13.    On March 9, 2020, Plaintiff filed a formal complaint with the EEOC. On or about
28 March 18, 2020 EEOC served Defendant CHP with the Charge of Discrimination. Defendant CHP


                                                     4
                                                 COMPLAINT
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 1   had 30 days to respond or request an extension, but Defendant took no action. EEOC reached out to

 2 Defendant and offered a verbal extension in which they were given until September 4, 2020 to
 3
     respond, however Defendant again failed to take any action. On September 16,2020, EEOC submitted
 4
     a Letter of Determination inviting both Plaintiff and Defendant to engage in conciliation in an effort
 5
     to reach a resolution. On September 21, 2020, EEOC provided a proposed Conciliation Agreement
 6
 7 between EEOC, Defendant, and Plaintiff, however Defendant indicated that they were unwilling to
 8 engage in conciliation. On September 24, 2020, EEOC issued a letter stating efforts to conciliate this
 9 matter were unsuccessful and the case was now being referred to the U.S. Department of Justice for
10 its review. On April 30, 2021, the Right To Sue was issued.
11
12                                      FACTUAL BACKGROUND

13          14.     Plaintiff commenced employment with the CHP on July 25, 2018. He started as an

14 Information Technology Associate under the supervision of Stanley Meeks, Supervisor I and Colleen
15
     Lambert ("Lambert"), Supervisor II. During his tenure as an Associate, Plaintiff received positive
16
     feedback regarding his performance. Plaintiff applied to the Information Technology Supervisor I,
17
     and was offered the job.
18
19          15.     Plaintiff took the Information Technology Supervisor position in May 2019. The

20 Information Technology Supervisor I position had a one-year probationary period from May 1, 2019,
21   to April 30, 2020.
22          16.     On September 5, 2019, Plaintiff received his first performance review as an
23
     Information Technology Supervisor I. The performance appraisal report was positive and stated that
24
     PlaintifPs performance was either standard or outstanding in all ten categories.
25
26          17.     On November 18, 2019, Plaintiff received a conceming email from Andy Roadman

27 ("Roadman"), one of Plaintiff s direct reports. Roadman is an employee of CHP with a disability.
28 Roadman informed Plaintiff that he did not get the lateral position that he applied to and expressed


                                                     5
                                                 COMPLAINT
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 1   his dissatisfaction with the way Lambert handled the hiring process. Roadman told Plaintiff that he
 2 believed that Lambert did not select him for the position because of his disability. In addition, he
 3
     indicated that he believed that Lambert improperly showed preferential treatment or favoritism
 4
     toward another applicant which Lambert knew personally, in violation of the civil service/merit
 5
     system.
 6
 7             18.   On November 18, 2019, the same day that he received the email from Roadman,

 8 Plaintiff reported the discrimination claim of his subordinate. Due to the nature of Roadman's
 9 concems, Plaintiff notified their Commander, Jay Song (as dictated by Defendant's policy) and
10 referred Roadman to Human Resources (HR), both of whom Plaintiff believed were better suited to
11
     address Roadman's concems. Plaintiff reasonably believed that Roadman's concems violated EEO
12
     and/or ADA laws, being that Roadman is disabled, physically confined to a wheelchair, and was
13
     overlooked for a position he was well qualified for and was in fact already performing some of the
14
15 job duties.
16             19.   According to CHP policy, HPM 10.12, Ch 6(12)(a)(l), "If any employee believes they
17 have been discriminated against and brings it to the attention of a supervisor . . . the supervisor . . .
18
     shall notify the affected commander". Defendant's policy fiirther states, "The supervisor .. .is legally
19
     obligated to ensure the work environment is free of discrimination.
20
            20.      Plaintiff also referred Roadman's complaint to CHP's Human Resources. Plaintiff
21
22 believed in good faith that there could be a violation of state or federal law by Lambert against
23 Roadman in her failure to hire Roadman for the lateral position.
24          21.      On the next day, November 19, 2019, Plaintiff was called to the office of Lambert.
25
     Lambert accused him of violating the CHP mles. Lambert told Plaintiff that he broke the chain of
26
     command when he did not inform Lambert regarding Roadman's complaint. Lambert then accused
27
28


                                                      6
                                                  COMPLAINT
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 1   Plaintiff of violating the Chain of Command, despite Plaintiff having complied with CHP reporting

 2 policy.
 3
             22.    On November 21, 2019, Plaintiff was verbally chastised by his then supervisor,
 4
     Alfredo Rivera ("Rivera") for allegedly violating the chain of command when Romero notified Song
 5
     and HR of the Roadman's complaint.
 6
 7           23.    After he reported the discrimination complaint of Roadman, Plaintiff immediately

 8 observed that the CHP management'sfreatmentand attitude toward him changed. Prior to reporting
 9 Roadman's complaint, he communicated with management on a regular basis and attended
10 management meetings. After November, 19,2019, he was kept out of the loop of communication on
11
     work related matters by Rivera and Lambert and          was excluded from meetings. In addition,
12
     management bypassed Plaintiff and directly communicated with Plaintiffs staff on work-related
13
     matters, thereby interfering with his ability to properly manage his team.
14
15           24.    Plaintiff also began to experience a series adverse employment actions. For example,

16 on January 3, 2020, Rivera gave him a negative performance appraisal for the period covering
17 September 26, 2019 to January 2, 2020.Plaintiff was not apprised before the performance appraisal
18
     of any concems with his performance. In addition, the performance appraisal was not focused on the
19
     quality of PlaintifFs overall performance and effectiveness of his work. Instead, Rivera based his
20
     appraisal on four specific instances, one of which was that Plaintiff failed to take Roadman's
21
22 complaint through the chain of command.
23           25.    The report cites that Plaintiff needs improvement on 5 of the 10 areas, namely. Critical
24 Tasks, Leadership, Judgment and Problem Solving, and Interpersonal Skills, and Adminisfrative and
25
     Specialized Assignments. What was supposed to be a performance review became a write up as it
26
     alleged that Plaintiff had engaged in misconduct and was all of a sudden deficient in 5 of the 10 areas.
27
     The review alleged that: (1) Plaintiff was late on the October 23,2019 weekly meeting and acted irate
28


                                                      7
                                                  COMPLAINT
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 1   with Rivera when Rivera approached him; (2) Plaintiff failed to take Roadman's complaint through

 2 the chain of command; (3) Plaintiff made negative comments about his team and portrayed a negative
 3
     attitude; and (4) Plaintiff was non-responsive to requests and non-cooperative to administrative
 4
     requests. Upon reading the appraisal, and meeting with Rivera on January 3, 2020, Plaintiff told
 5
     Rivera that he felt he was "being targeted" and that "this was a personal attack" on him. Rivera directly
 6
 7 responded, "Yes, this is personal."
 8           26.    During the January 3,2020 meeting, Rivera informed Plaintiff that he was being placed

 9 in Interim Reporting because of the alleged failure of the Plaintiff to meet the critical tasks in the
10 January 3, 2021 performance appraisal. During the meeting, Mr. Mr. Rivera spoke to Plaintiff in a
11
     demeaning, harassing and disrespectful manner thereby creating a work environment wrought with
12
     hostility causing Plaintiff emotional disfress.
13
            27.     On January 10, 2020, Plaintiff submitted a rebuttal to his January 3, 2020 negative
14
15 performance appraisal, stating among other things, that Rivera failed to follow the protocol with
16 regard to Interim Reporting and that Rivera did not follow the performance review guidelines.
17 Plaintiff also reported in his rebuttal regarding improper hiring practices of Lambert in the department
18
     and misconduct/violation of policy by Rivera.         Plaintiff requested that the review be redone,
19
     modified, or removed and that he report to someone else due to Lambert and Rivera's bias and
20
     personal animus toward him.
21
22          28.     On January 22,2020, Plaintiff complained in writing to Commander Song about how

23 Rivera intentionally deviated from the Performance Review Guidelines when Rivera issued a negative
24 performance review on the Plaintiff. Plaintiff also reiterated his request for a review of the negative
25
     performance appraisal, the decision to place him on Interim Reporting and for a change in reporting
26
     stmcture due to Lambert Rivera's bias against him for forwarding Roadman's complaint and their
27
     personal retaliatory animus against him. . Plaintiff also included his rebuttal which contained the
28



                                                  COMPLAINT
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 1   allegations/claims of misconduct and violations of policy          by Lambert and Rivera. Without
 2 conducting any investigation into plaintiffs claims. Commander Song denied Plaintiffs requests.
 3
            29.     CHP's "Progressive Discipline Review Guidelines" require that certain disciplinary
 4
     steps occur before placing Plaintiff on Interim Reporting. Highway Patrol Manual ("HPM") 10.10,
 5
     Ch.5 3(c)(1) requires that one receive a Memorandum of Counseling, Corrective Memoranda,
 6
 7 Memoranda of Direction, Censurable CHP2 before one is placed on Interim Reporting. Adherence to
 8 this process was confirmed by Commander Song at Defendants weekly managers meeting on October
 9 7, 2019, where he stated that" Interim Reporting cannot not be the first action".
10          30.     At no point prior to placing Plaintiff on Interim Reporting did Rivera issue Plaintiff a
11
     Memorandum of Counseling, Corrective Memoranda, Memorandum of Direction; Censurable CHP2,
12
     Incident Report as required by the HPM.
13
            31.      On January 31,2020, Plaintiff met with Rivera and Isaac Ryland ("Ryland") Manager
14
15 at CHP to discuss his performance appreiisal and placement on Interim Reporting. Plaintiff requested
16 that EEO counselor Deanna Silvera to be present in the meeting, but Ryland denied his request.
17          32.     During the January 31,2020 meeting, Rivera informed Plaintiff that he would be placed
18
     in Interim Reporting for 60 days, or until March 31, 2020 because of the alleged failure of the Plaintiff
19
     to meet the critical tasks in the January 3,2021 performance appraisal.
20
            33.     On Febmary 6, 2020, Rivera sent Plaintiff a Memorandum of Counselling citing
21
22 Plaintiff for allegedly displaying unprofessional behavior throughout the January 31, 2020 meeting.
23 Plaintiff submitted a rebuttal to Rivera's Memorandum of Counseling on Febmary 27, 2020.
24          34.     On Febmary 10, 2020, Plaintiff filed an intemal complaint with CHP's EEO
25
     department about the retaliatory treatment he received from the management and the discriminatory
26
     and preferential treatment that Lambert utilized in handling the hiring process involving Roadman.
27
     Unfortunately, the discriminatory and retaliatory against Plaintiff continued.
28


                                                       9
                                                   COMPLAINT
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 1          35.     On Febmary 14, 2020, Plaintiff met with Chief Scott Howland ("Howland") and

 2 Commander Kimberly Holder ("Holder") regarding the intemal EEO complaint filed a few days
 3
     earlier. Chief Howland stated there was a lot of information contained in his rebuttal and would need
 4
     another 30 days to review. No fiirther meeting with Howland ever occurred.
 5
            36.     On March 9, 2021 Plaintiff filed his claim with the EEOC.
 6
 7          37.     Since Plaintiff reported Mr. Roadman's concems to Commander Song, referred Mr.

 8 Roadman to Human Resources and filed his own EEO complaint, he has been subjected to ongoing
 9 harassment and unwarranted adverse employment actions and disciplinary write ups. Plaintiffs
10 performance was never an issue or in question until he reported and opposed discrimination against
11
     Roadman, informed Mr. Roadman of his EEO rights and forwarded his complaint to Commander
12
     Song. Plaintiffs prior appraisals and reviews were exemplary.
13
            38.     On January 3, 2020, Plaintiff received a negative performance appraisal which was
14
15 also used by Rivera as a write up for reporting Roadman's discrimination complaint to Song and not
16 to him or Lambert first. At the time, Rivera was not Plaintiffs supervisor and Ms. Lambert was the
17 subject of the complaint. At no point prior to Plaintiff reporting discrimination complaint of Roadman
18
     was he given any counseling, corrective memoranda, memorandum of direction, censurable CHP2 as
19
     required by Respondent's progressive disciplinary policy.
20
            39.     On or about January 31, 2020, Plaintiff was written up again and placed on interim
21
22 reporting for alleged performance issues which were false as written by Mr. Rivera.
23          40.     On or about Febmary 6, 2020, Plaintiff was given a memorandum of counseling based
24 on how Mr. Rivera falsely perceived Plaintiffs actions during the January 31st meeting.
25
            41.     Shortly thereafter, Plaintiff filed an intemal EEO complaint and the harassing and
26
     retaliation continued. Mr. Rivera and Ms. Lambert continue to nit- pick at absolutely everything
27
     Plaintiff did and treated Plaintiff differently than his peer, Jason Sfrickland, who held the same
28


                                                    10
                                                 COMPLAINT
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 1   position as Plaintiff. For ex, Mr. Strickland was privy to the work related infonnation necessary to do
 2 the job, while Plaintiff was excluded.
 3
            42.     After Plaintiff reported the complaint of Roadman and filed his own EEO complaint.
 4
     Defendants scmtinize his work and attendance in meetings more closely than other similarly situated
 5
     employees without any justification. In addition, between the time Plaintiff assisted Roadman,
 6
 7 reported the complaint of Roadman and filed his own EEO complaints. Plaintiff was subjected to
 8 disciplinary action three times in less than 45 days, for infractions that regularly go undisciplined
 9 within Defendant CHP.
10          43.     Lambert's practice of showing favoritism in hiring decisions and disregarding the
11
     merit system mles is a direct violation of CHP's merit base civil service system of the Califomia
12
     State Constitution. It is CHP's policy to provide equal employment opportunities for all applicants
13
     and employees at all levels including at the hiring and promoting levels without regard to disability,
14
15 harassment and retaliation amongst other categories protected under state and federal civil rights
16 laws.
17                                      FIRST CAUSE OF ACTION
18
                                     DISABILITY DISCRIMINATION
19
            In Violation of ADA (42 U.S.C § 12203 et. seq.) and FEHA (Gov Code § 12940(a)
20
                                          (Against Defendant CHP)
21
22          44.     Plaintiff incorporates herein all previously alleged paragraphs 1 through 43 of the

23   Complaint.
24          45.     The ADA prohibits discrimination against an individual "because such individual has
25
     opposed any act or practice made unlawful by this chapter or because such individual made a charge,
26
     testified, assisted, or participated in any marmer in an investigation, proceeding, or hearing under this
27
28


                                                     11
                                                  COMPLAINT
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 1   chapter." 42 U.S.C. § 12203(a). Oliveras-Sifre v. Puerto Rico Dep't of Health 214 F.3d 23, 26. (1st

 2 Cir. 2000)
 3
             46.    To establish a prima facie case of retaliation under the ADA, a plaintiff must establish
 4
     that (1) the employee was engaged in an activity protected by the ADA, (2) the employer was aware
 5
     of that activity, (3) an employment action adverse to the plaintiff occurred, and (4) there existed a
 6
 7 causal connection between the protected activity and the adverse employment action." Same v.
 8 Douglas Elliman-Gibbons & Ives, Inc., 183 F.3d 155, 159 (2d Cir. 1999); [A] plaintiff need not
 9 establish that the conduct he opposed was actually a violation of the statute so long as he can establish
10 that he possessed a good faith, reasonable belief that the underlying challenged actions of the
11
     employer violated that law." Id
12
             47.    Under Cal. Gov. Code § 12940, it is unlawful for an employer, because of
13
     physical disability, to refuse to hire or employ a person or to refuse to select the person for a fraining
14
15 program leading to employment, or to bar or to discharge the person from employment or from a
16 fraining program leading to employment, or to discriminate against the person in compensation or in
17 terms, conditions, or privileges of employment. § 12940, subd. (a)
18
            48.     CHP is, and was at all times material hereto was, an employer within the meaning of
19
     the ADA, and as such, is barred from discriminating on the basis of the individual's disability to job
20
     application procedures, the hiring, and advancement of employees.
21
22          49.     When Plaintiff reported and assisted Roadman in his discrimination claim against

23 Lambert, Plaintiff was engaging in protected activity and asserting his rights under ADA and FEHA,
24 in that CHP cannot discriminate against a person with a disability or because of their disability..
25
             50.    Following Plaintiffs reporting of Roadman's complaint to Commander Song and HR,
26
     Plaintiff suffered retaliation in the form of multiple adverse employment actions such as write-ups
27
     and memorandums; he was given a poor performance appraisal which was not based on the CHP
28


                                                      12
                                                  COMPLAINT
          Case 2:21-cv-01978-JAM-DB Document 1 Filed 10/26/21 Page 17 of 55


 1   guidelines; he was placed on interim reporting for an extended period of time which prevented him

 2 from applying to other positions; his merit increase was denied because of the baseless retaliatory
 3
     accusations from Lambert and Rivera.
 4
              51.       Plaintiffs involvement in protective activity was the motivating factor for CHP's
 5
     adverse employment actions towards Plaintiff. Plaintiff had not received write-ups and memorandums
 6
 7 from Lambert and Rivera until after Plaintiff reported Roadman's allegations against Lambert to
 8 Commander Song and the HR. Rivera's negative performance appraisal on Plaintiff was not based on
 9 Plaintiffs overall performance but improperly grounded on Plaintiffs conduct of directly reporting
10 Roadman's grievance to Commander Song. He was placed in interim reporting for several times and
11
     was denied merit increase by Lambert and Rivera who both expressed their retaliatory intent against
12
     him, under the guise o f " failure to follow the chain of command..
13
              52.       As a direct and proximate result of Defendants' actions as alleged herein, CHP has
14
15 breached its duties imposed on all employers as established by statute.
16            53.       As a direct and proximate result of the CHP employees' disability discrimination.

17 Plaintiff has suffered lost income and salary increases, and other employment, in an amount to be
18
     proven at trial.
19
              54.       As a further proximate result of Defendants' unlawful actions. Plaintiff has suffered
20
     emotional pain, humiliation, mental anguish, and emotional disfress.
21
22            55.       The conduct of CHP alleged above was deliberate, willful and malicious. Further, the

23 actions taken against Plaintiff were carried out with reckless disregard to the tmth and therightsof
24 Plaintiff, and were despicable actions taken without privilege or justification.
25
     //
26
     //
27
     //
28


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                                                     COMPLAINT
       Case 2:21-cv-01978-JAM-DB Document 1 Filed 10/26/21 Page 18 of 55


 1                                     SECOND CAUSE OF ACTION
 2                   VIOLATION OF THE WHISTLEBLOWER PROTECTION ACT
 3
                                       (Cal. Lab. Code§ 1102.5 et seq.)
 4
                                          (Against Defendant CHP)
 5
               56.   Plaintiff incorporates all previously alleged paragraphs 1 through 55 ofthe Complaint.
 6
 7             57.   Cal. Labor Code § 1102.5 prohibits employers from retaliating against an employee

 8 for disclosing information, or because the employer believes that the employee disclosed or may
 9 disclose information, to a govemment or law enforcement agency, to a person with authority over the
10 employee or another employee who has the authority to investigate, discover, or correct the violation
11
     or noncompliance, or for providing information to, or testifying before, any public body conducting
12
     an investigation, hearing, or inquiry, i f the employee has reasonable cause to believe that the
13
     information discloses a violation of state or federal statute, or a violation of or noncompliance with a
14
15 local, state, or federal mle or regulation, regardless of whether disclosing the information is part of
16 the employee's job duties.
17             58.   Furthermore, according to Cal. Lab. Code § 1102.5(b), an employer, or any person
18
     acting on behalf of the employer, shall not retaliate against an employee for disclosing information,
19
     or because the employer believes that the employee disclosed or may disclose information, to a
20
     govemment or law enforcement agency, to a person with authority over the employee or another
21
22 employee who has the authority to investigate, discover, or correct the violation or noncompliance,
23 or for providing information to, or testifying before, any public body conducting an investigation,
24 hearing, or inquiry, if the employee has reasonable cause to believe that the information discloses a
25 violation of state or federal statute, or a violation of or noncompliance with a local, state, or federal
26
     mle or regulation, regardless of whether disclosing the information is part of the employee's job
27
     duties.
28


                                                     14
                                                  COMPLAINT
      Case 2:21-cv-01978-JAM-DB Document 1 Filed 10/26/21 Page 19 of 55


 1          59.     To establish a prima facie case of retaliation imder Califomia whistle-blower statutes,

 2 it must be shown that the plaintiff engaged in protected activity and was subjected by the employer to
 3
     adverse employment action, and that there is a causal link between the two. McVeigh v Recology San
4
     Francisco 213 CA 4th 443, 455 (2013)
 5
            60.     Plaintiff engaged in a protective activity when he reported Roadman's complaint
 6
 7 against Lambert to Commander Song and the HR, and complained about Lamberts violation of civil
 8 service system mles protected by Califomia Constitution.
 9          61.     Commander Song is a person with authority within the meaning of Cal. Lab. Code §
10   1102.5(b)
11
            62.     Plaintiff complained that Lambert's hiring practices are not only improper and
12
     unethical but are also in direct violation of laws prohibiting discrimination by reason of disability
13
     such as the ADA and FEHA.
14
15          63.     Plaintiff also contends that Lambert's hiring practices are in breach of CHP's merit

16 base civil service system of the Califomia State Constitution.
17          64.     Defendant also violated its policy to provide equal employment opportunities for all
18
     employees at all levels including at the hiring and promoting levels without regard to disability.
19
            65.     Plaintiff in good faith reasonably believed that Roadman's complaint against Lambert
20
     merited an investigation.
21
22          66.     Plaintiff immediately referred the complaint to HR and notified Commander Song in

23   order to investigate Roadman's allegations.

24          67.     Plaintiff suffered adverse employment action when he reported Lambert's unlawful
25
     discriminatory and preferential treatment conduct, including but not limited to, multiple write-ups
26
     and memorandums, negative performance appraisal, extended interim reporting which prevented
27
     Plaintiff from applying for a promotion and denial of timely merit increase.
28


                                                     15
                                                  COMPLAINT
          Case 2:21-cv-01978-JAM-DB Document 1 Filed 10/26/21 Page 20 of 55


 1                                      THIRD CAUSE OF ACTION
 2        VIOLATION OF THE CALIFORNIA WHISTLEBLOWER PROTECTION ACT (WPA)
 3
                                        (Cal. Gov. Code § 8547 et seq.)
 4
                                             (Against Defendant CHP)
 5
              68.   Plaintiff incorporates all previously alleged paragraphs 1 through 67 of the Complaint.
 6
 7            69.   Under the Califomia Whistleblower Protection Act (Cal. Gov. Code, § 8547 et seq.) a

 8 state employee has a right of action against any person who retaliates against him or her for having
 9 made a "protected disclosure." The statute prohibits a "person" from intentionally engaging in acts of
10 reprisal, retaliation, threats, coercion, or similar acts against the employee (Cal. Gov. Code, §
11
     8547.8(c)). Furthermore, Cal Gov. Code § 8547 et seq. protects state employees who report: 1.
12
     Violations of law, regulations, executive or court orders; 2.) any condition that may significantly
13
     threaten the health or safety of employees or the public; and 3.) Govemmental activity that is
14
15 economically wasteful or involves gross misconduct, incompetency, or inefficiency.
16            70.   Plaintiff made a protected disclosure in good faith when he notified Commander Song
17 as directed by CHP policy and referred Roadman to HR in order to have an investigation Roadman's
18
     allegations and when he disclosed Lambert's improper hiring practices.
19
              71.   After making said protected disclosure, Plaintiff was subjected to intentional acts of
20
     reprisal, retaliation, threats, coercion, or similar acts in violation of Gov Code 8547.
21
22            72.   Plaintiff reasonably believed that Roadman's allegations conceming Lambert's

23   conduct in handling the hiring process in which Roadman applied for was discriminatory as she did

24   not offer the position to Roadman. He reasonably believed that Roadman was the most qualified for
25
     the position but was rejected because of his physical disability. Lambert selected someone else who
26
     is not suffering from any disability.
27
     //
28


                                                      16
                                                   COMPLAINT
      Case 2:21-cv-01978-JAM-DB Document 1 Filed 10/26/21 Page 21 of 55


 1          73.     Following Plaintiffs reporting of potential discrimination by Lambert to Commander

 2 Song and the HR, Plaintiff was ridiculed and issued adverse employment actions under the guise of
 3
     for breaking the chain of command by Lambert and Rivera; he was subjected to multiple write-ups
 4
     and memorandums; he received a negative performance appraisal; his interim reporting was extended
 5
     for a long period of time; he was prevented from applying for a promotion; and he was denied merit
 6
 7 increase.
 8                                       FOURTH CAUSE OF ACTION

 9                                               HARASSMENT
10                                          Cal Gov. Code §12940(j))
11
                                          (Against Defendant CHP)
12
            74.     Plaintiff incorporates herein all previously alleged paragraphs 1 through 73 the
13
     Complaint.
14
15          75.     The FEHA prohibits harassment based on the employees' protected characteristics

16 including, but not limited to, their mental disability and physical disability. Cal Gov. Code §12940(j).
17 Employers are liable for the harassment of their supervisors. Id (]){\).
18
            76.     Defendant subjected Plaintiff to continuous, pervasive, and severe harassment and
19
     thereby created a hostile work environment as detailed herein.
20
            77.     The hostile work environment, created by the CHP managers and supervisors, were
21
22 severe and pervasive based on the nature of the harassment, including egregious statements made by
23 numerous employees expressing animus towards Plaintiff.
24          78.     Lambert and Rivera subjected Plaintiff to harassment when he reported Roadman's
25
     allegations against Lambert to Commander Song. Plaintiff was issued several write-ups and
26
     memorandums in a span of a couple weeks from the time that he reported Lambert's misconduct to
27
     Commander Song. Plaintiff was given a poor performance appraisal primarily because he failed to
28


                                                    17
                                                 COMPLAINT
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 1   follow the chain of command in reporting the Roadman complaint. Lambert and Rivera intentionally

 2 gave Plaintiff last minute assignments without enough information and short deadlines and intentionally
 3
     kept Plaintiff out of discussions pertaining to his team and the IT department.
 4
             79.     Plaintiff considered the aforementioned conduct to be discriminatory, retaliatory and
 5
     harassment in nature, and as a result reported said conduct, both verbally and in writing to numerous
 6
 7 management level employees and departments including but not limited to Rivera, Lambert,
 8 Commander Song, Commander Holder, Chief Howland, and CHP's intemal EEO department.
 9           80.     As a result of the continuous, pervasive, and severe harassment described above.
10 Plaintiff suffered damages, including economic losses, and emotional disfress, in an amount to be
11
     determined at trial.
12
             81.     Because Commander Holder, Lambert and Rivera are managers/supervisors within the
13
     meaning ofthe FEHA, CHP is liable for their harassing conduct.
14
15                                          FIFTH CAUSE OF ACTION

16                                              RETALIATION
17                                        (Cal. Gov. Code § 12940(h)
18
                                           (Against Defendant CHP)
19
             82.    Plaintiff incorporates all previously alleged paragraphs 1 through 81 of the Complaint.
20
             83.     Califomia law guarantees each employee's right to a workplace free from unlawful
21
22    retaliation because the employee opposed discriminatory or harassing practices that are unlawful under

23    the FEHA. Employers are Hable for the retaliatory conduct of supervisors. Cal. Gov. Code § 12940(h).

24           84.    The elements of a claim for retaliation in violation of section 12940, subdivision (h), are:
25
     (1) the employee's engagement in a protected activity, i.e., "oppos[ing] any practices forbidden under this
26
     part"; (2) retaliatory animus on the part of the employer; (3) an adverse action by the employer; (4) a causal
27
28


                                                      18
                                                   COMPLAINT
          Case 2:21-cv-01978-JAM-DB Document 1 Filed 10/26/21 Page 23 of 55


 1   link between the retaliatory animus and the adverse action; (5) damages; and (6) causation. Mamou v.
 2 Trendwest Resorts, Inc. 165 Cal.App.4th 686, 713 (2008)
 3
              85.    After Plaintiffreported Roadman's discrimination complaint against Lambert to HRand
 4
     Commander Song, Lambert and Rivera retaliated by immediately verbally reprimanding him for not
 5
     following the chain of command; he was excluded from team and management communications, he was
 6
 7 given a negative Performance Appraisal, placed on Interim Reporting, denied a timely Merit Salary
 8 Increase and issued multiple disciplinary actions. Plaintiff, had previously received good performance
 9 reviews, was not aware of any performance concems until after he bypassed Lambert with Roadman's
10 complaint against her and reported Roadman's complaint in a manner consistent with CHP regulations.
11
              86.    After Plaintiff filed his discrimination complaint to the intemal EEO, CHP, instead of
12
     finding a remedy for the discrimination and retaliation. Commander Song further retaliated by denying
13
     Plaintiff s request to report to a different supervisor and refused to reverse or modify Plaintiff s performance
14
15 evaluation despite overwhelming evidence of bias stated in Plaintiffs rebuttal. Plaintiffs allegations of
16 retaliation and harassment were contained in his rebuttals and were never investigated. CHP's failures,
17 actions and inactions as described herein amounted to adoption and ratification of the retaliatory
18
     conduct, herein described, to which Plaintiff was subjected to on a daily and ongoing basis.
19
             87.    As a result of CHP's conduct. Plaintiff has suffered damages, including economic
20
     losses, and emotional distress, in an amount to be determined at trial.
21
22           88.     CHP's actions were willful, malicious, egregious, and intentional, and injured the

23 Plaintiff, with a conscious disregard of Plaintiff s rights. Defendant's actions were willfiil, malicious,
24 fraudulent and oppressive, and were committed with the wrongful intent to injure Plaintiff and in
25
     conscious disregard of his rights.
26
     //
27
     //
28


                                                       19
                                                    COMPLAINT
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 1                                         SIXTH CAUSE OF ACTION
 2     FAILURE TO PREVENT DISCRIMINATION, HARASSMENT AND RETALIATION
 3
                                            (Cal. Gov. Code §12940(k))
 4
                                          (Against Defendant CHP)
 5
 6          89.      Plaintiff incorporates herein all previously alleged paragraphs 1 through 88 of the
 7
     Complaint.
 8
           90.       Under the law, the employer's duty to prevent harassment and discrimination is
 9
     affirmative and mandatory. Retaliation is a form of discrimination actionable under Govemment
10
11   Code section, 12940, subdivision (k). See Taylor v. City of Los Angeles Dept. of Water & Power,

12    144 Cal.App.4th 1216, 1240 (2006). Cal. Gov. Code § 12940, subdivision (h) and corresponding

13   regulations of the Califomia Fair Employment and Housing Commission, prohibits retaliation
14   against a person in terms~ conditions or privileges of employment on the basis of engagement in
15
     protected activity.
16
           91.       The essential elements of failure to prevent discrimination, harassment or retaliation
17
     are: 1) plaintiff was subjected to discrimination, harassment, or retaliation; 2) defendant failed to
18
19   take all reasonable steps to prevent discrimination, harassment or retaliation; and 3) this failure

20   caused plaintiff to suffer injury, damage, loss or harm. See Lelaind v. City & County of San
21   Francisco, 576 F.Supp.2d 1079, 1103 (N.D.Cal. 2008) citing CaHfornia Civil Jury Instmctions
22
     (BAJI) 12.11.
23
           92.       Plaintiff engaged in protected activity when he reported Roadman's discrimination
24
     complaint against Lambert to Commander Song and the Human Resources. Plaintiff also filed
25
26   complaints about the misfreatment and violation of his civil rights. In violation of its obligations,

27   CHP failed to investigate Plaintiffs complaints.
28


                                                     20
                                                  COMPLAINT
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 1           93.     CHP failed to take all reasonable steps to prevent harassment, discrimination, and
 2 discrimination that it knew was occurring based upon protected activity and instead permitted its
 3
     agents and assigns to engage in retaliation for making complaints and participating in investigations.
 4
             94.     Afrer Plaintiff reported Roadman's discriinination complaint against Lambert to HRand
 5
     Commander Song, Lambert and Rivera retaliated by immediately verbaUy reprimanding him for not
 6
 7 following the chain of command; he was excluded from team and management communications, he was
 8 given a negative Performance Appraisal, placed on Interim Reporting, denied a timely Merit Salary
 9 Increase and issued multiple disciplinary actions. Plaintiff, had previously received good performance
10 reviews and was not aware of any performance concems until after he bypassed Lambert with Roadman's
11
     complaint against her and reported Roadman's complaint in a manner consistent with CHP regulations.,.
12
             95.     After Plaintiff filed his discrimination complaint to the intemal EEO, CHP, instead of
13
     finding a remedy for the discrimination and retaliation. Commander Song permitted and participated in
14
15 fiirther retaliation by denying PlaintifFs request to report to a different supervisor and refused to reverse
16 or modify PlaintifFs perfonnance evaluation despite overwhelming evidence of bias stated in PlaintifFs
17 rebuttal. Commander Holder failed to take steps to prevent the harassing and retaliatory conduct she was
18
     clearly aware was occurring.
19
             96.     As a direct result of defendant CHP's failure to take all reasonable steps to prevent
20
     these unlawful employment practices. Plaintiff was subjected to unlawful discrimination, harassment
21
22 and retaliation by CHP's commanders, managers, and supervisors, and suffered economic injuries,
23 including but not limited to, lost wages and compensation, in an amoimt to be proven at frial.
24           97.     As a direct result of CHP' s failure to take all reasonable steps to prevent these unlawful
25
     employment practices. Plaintiff was subjected to unlawful discrimination, harassment and retaliation
26
     by CHP's commanders and supervisors, and suffered emotional distress, including but not limited to
27
28


                                                      21
                                                   COMPLAINT
      Case 2:21-cv-01978-JAM-DB Document 1 Filed 10/26/21 Page 26 of 55


 1   emotional pain suffering, mental anguish, humiliation, and hopelessness, in an amount to be proven

 2 at trial.
 3
 4                                         DEMAND FOR JURY TRIAL

 5             Plaintiff demands a trial by jury of all issues so triable in this action. Plaintiff requests a jury

 6 frial on all questions of fact raised by this Complaint.
 7
                                               PRAYER FOR R E L I E F
 8
 9             WHEREFORE, Plaintiff respectfiilly requests that this Court:

10             1. For general and compensatory damages according to proof

11             2. For penalties pursuant to the ADA (42 U.S.C § 12203 et. seq) and FEHA (Govemment

12                 Code § 12940 etseq.).

13             3. For attomey fees and costs.

14             4. Other relief as may be deemed proper by the Court.

15
16 Date: July 29, 2021                                 LAW OFFICES OF DENISE EATON-MAY
17
18
19                                                             DENISE EATON-MAY^
                                                               Attomeys for Plaintiff
20                                                             ADRIAN ROMERO
21
22
23
24
25
26
27
28


                                                         22
                                                      COMPLAINT
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                      oU; t mo.^ COURT
Case 2:21-cv-01978-JAM-DB Document 1 Filed 10/26/21 Page 28 of 55




                       EXHIBIT B
                                                                                                                            *s



                      Case 2:21-cv-01978-JAM-DB
                                      torwimber, milledilresx):
                                                                Document 1 Filed 10/26/21 Page 29 of 55 CM-010
                         IA?VT^TT0RNeY <Nama- state
DENISE EATON-MAY, ESQ, (-116780)                                                                                                 FOR COURT USB' ONLY
LAW OFFICES OF DENISE EATON-MAY, P.C,                                                 •*
1290 B STREET, SUITE 316, HAYWARD, CA94'541
         TELEPHONE NO.: (510) 808-1345                     FAX NO. icmnoi): (510) 315-3015
   attorney fop  (Nome): Adrian Romero, Jr.
SUPERIOR COURT OF CALIFORNIA, COUNTY OF SACRAMENTO                                                           •     ■■   ;


 STREET ADDRESS: 720 9th STREET
 MAILING ADDRESS:
CITY AND ZIP CODE: SACRAMENTO, 95814
    branch name; GODON D. SCHABER COUNTY COURTHOUSE
CASE NAME:              ’                         ~
 ADRIAN ROMERO JR V CALIFORNIA HIGHWAY PATROL
    CIVIL CASE COVER SHEET
                                                                                                                   4                                          :•.
                                                                                                                                                                          V ■


                                                  Complex Case Designation               CASE NUMBER:
DO Unlimited                 Limited           [    I Counter          | 1 Joinder
     (Amount                 (Amount
     demanded                demanded Is      Filed with first appearance   by defendant JUUG&
    exceeds $25,000)         $26,000)             (Cal.  Rules  of Court, rule 3.402)     DEPT.:
                                           ____________ _______ _
_______________________ /ferns 1~6 below must becompleted(see instructions on page 2).
1. Check one box below for the case type that best describes this case:
    Auto Tort                                           Contract                                      Provisionally Complex Civil Litigation
    [~| Auto (22)                                       I       I Breach of contract/warranty (06)    (Cal. Rules of Court, rules 3.400-3.403)
    r I Uninsured motorist (46)                         I       I Rule 3,740 collections (09)        I    I Antitrust/Trade regulation (03)
     Other PI/PD/WD (Personal Injury/Proporly           I       | Other collections (09)             I    I Construction defect (10)
     Damage/Wrongful Death) Tort
                                                        f...... I Insurance coverage (10)            I    | Mass tort (40)
    I    | Asbestos (04)
                                                         I    I Other contract (37)                  I    I Securities litigation (28)
    1"" I ProdJctllablllty(24)
                                                          Real Property                              I    I Envlronmental/Toxlclorl (30)
    I ' | Medical malpractice     (45)
    ,___,                                              i___ j Eminent domain/inverse                 I    I Insurance coverage claims arising from the
    I__ I Olher PI/PD/WD (23)                                    condemnation (14)                           above listed provisionally complex case
     Non-PI/PD/WD (Other) Tort                         □ Wrongful eviction (33)                              types (41)
                                                                                                       Enforcement of Judgment
    I . ' I Business tort/unfair business practice (07) |     | Other real property (26)
                                                          Unlawful Detainer                          I    I Enforcement of judgment (20)
    I ~1 Civil rights (09)
                                                                                                      Miscellaneous Civil Complaint
    I     | Defamation (13)                             f      I Commercial (31)
                                                                                                     I    i RICO (27)
            Fraud (16)                                   I     | Residential (32)
                                                                                                     I    I Other complaint (not specltled above) (42)
    I   | Intellectual properly (19)                    r~1 Drugs (3Q)
                                                        Judicial Review                               Miscellaneous Civil Petition
    m Professional negligence (25)
    I   I Other ncn-PI/PD/WD tort (35)                  [   I Asset forfeiture (06)                  l~   I Partnership and corporate governance (21)
     Employment                                               Petition re: arbitration award (11)    I    I Other petition (not specified above) (43)
    I   I Wrongful termination (36)                     (   l Writ of mandate (02)
    I x | Other employment (16)                               Other Judicial review (39)
2. This case i " I Is          □□ is not       complex under rule 3,400 of the California Rules of Court If the case is complex mark the
   factors requiring exceptional judicial management:
   a- IZZH Large number of separately represented parties              d. r I Large number of witnesses
   b. □ Extensive motion practice raising difficult or novel e, □ Coordination with related actions pending In one or more
               issues that will be time-consuming to resolve                      courts in other counties, states, or countries, or in a federal
   c. I      I Substantial amount of documentary evidence                         court
                                                                                I Substantial postjudgment Judicial supervision
3. Remedies sought                               a. QT] monetary               nonmonetary; declaratory or injunctive relief c, \^J punitive
4. Number of causes of action (specify): 6
5. This case            is     f *1 is not     a class action suit.
6.  If there  are any known    related cases, file and serve a notice of related case. (You may use form CM-015.)
Date: JULY 29, 2021                                                                              /'h
                                                                                                                  1,
DENISE EATON-MAY, ESQ.
                             (TYPE OR PRINT NAME)
                                                                                                                                       rn'CHkiV
                                                                                                           (SIGNATURE OF PARTY OR ATTORNEY F# PARTY]
                                                                                                                                                                                   ■
                                                                       NOTICE                                                      t?
  • Plaintiff must file this cover sheet with the first paper filed In the action or proceeding (except small claims cases or oases filed
    hs^ctions           ° C°de' Fann y 0de, °r WelfSre and lnst,tut!on8 Code>- <CaL Ru,es of Court, rule 3.220.) Failure to file may result                                        :
  • File this cover sheet in addition to any cover sheet required by local court rule,
  ‘ other pTtteB toZ'SlontSBq' °f th6 Callf0mia RU,eS °f G°Urt' y°11 mUSt                                               a          of tllis cover sl“‘a»

  • Unless this Is a collections case under rule 3.740 or a complex case, this cover sheet will be used for statistical purposes only.
                                                                                                                                                                    PnjiQ 1 ora
Form Adopted for Memlutoiy Use
Judicial Council of Cnllfomla                             CIVIL CASE COVER SHEET                                 Cal. Rules of Court, fulos 2.30, 3.220, 3.-100-3.<1()3,3.V-10'
CM-010 [Rev. July 1,200V]                                                                                                Cal. Slamterefs of Judicial Admlrtlsire/ton, slrf. 3,10
                                                                                                                                                          iviw.courfs.oo.Rov
                  Case 2:21-cv-01978-JAM-DB Document 1 Filed 10/26/21 Page 30 of 55
                                       INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET                                                                  ClVI-010
To Plaintiffs and Others Filing First Papers. If you are filing a1 first paper
                                                                                        (for example, a complaint) in a civil case, you must
complete and tile, along with your first paper, the Civil Case Cover Sheet contained
                                                                                                     on page 1. This information will be used to compile
statistics about the types and numbers of cases filed. You must complete items
                                                                                                1 through 6 on the sheet, in item 1, you must check
one box for the case type that best describes the case. St the case fits both
                                                                                         a general and a more specific type of case listed in item 1,
check the more specific one. if the case has multiple causes of action, check
                                                                                           the box that best indicates the primary cause of action.
To assist you in completing the sheet, examples of the cases that belong under
                                                                                                each case type in item 1 are provided below. A cover
sheet must be filed only with your initial paper, Failure to llle a cover siieet with
                                                                                               the first paper filed in a civil case may subject a party,
its counsel, or both to sanctions under rules 2.30 and 3.220 of the California
                                                                                          Rules of Court.
To Parties In Rule 3.740 Collections Cases. A ''collections case" under rule
                                                                                             3.740 Is defined as an action for recovery of money owed
in a sum stated to be certain that is not more than $25,000, exclusive of interest
                                                                                                 and attorney's fees, arising from a transaction in which
property, services, or money was acquired on credit. A collections case does
                                                                                             not include an action seeking the following'. (1) tort
damages, (2) punitive damages, (3) recovery of real property, (4) recovery
                                                                                       of personal property, or (5) a prejudginent writ of
attachment. The Identification of a case as a rule 3.740 collections case on
                                                                                         this form means that it will be exempt from the general
tlme-for-servlc© requirements and case management rules, unless a defendan
                                                                                              t flies a responsive pleading. A rule 3.740 collections
case will be subject to the requirements for service and obtaining a judgment
                                                                                           in rule 3.740,
To Parties In Complex Cases, in complex cases only, parties must also use
                                                                                             the Civil Case Cover Sheet to designate whether the
case is complex. If a plaintiff believes the case is complex under rule 3,400
                                                                                        of the California Rules of Court, this must be indicated by
completing the appropriate boxes in items 1 and 2. If a plaintiff designates a
                                                                                          case as complex, the cover sheet must be served with the
complaint on all parties to the action. A defendant may file and serve no later
                                                                                            than the time of its first appearance a joinder in the
plaintiffs designation, a counter-designation that the case Is not complex, or,
                                                                                           if the plaintiff has made no designation, a designation that
the case Is complex.                                         CASE TYPES AND EXAMPLES
  Auto Tort                                         Contract
      Auto (22)-Personal Injury/Property               Breach of ControctA'Varranty (06)                      Provisionally Complex Civil Litigation (Cal.
                                                                                                              Rules of Court Rules 3.400-3.403)
             Damage/Wrongfut Death                         Breach   of Rental/Lease
                                                                Contract (not unlawful detainer                     Antllrusl/Trade Regulation (03)
          Uninsured Motorist (46) (if the
           case involves an uninsured                               or wrongful eviction)                            Construction Defect (10)
           motor/si c/afm subject to                       Contract/Warranly Breach-Sellar                          Claims Involving Mass Tort (40)
           arbitration, check this item                         Plaintiff (not fraud or negligence)                  Securities Litigation (28)
          Instead of Auto)                                 Negligent   Breach of Contract/                           Envlronme     ntal/Toxlc Tort (30)
  Other PI/PD/WD (Personal Injury/                              Warranty                                            Insurance Coverage Claims
   Property Damage/Wrongful Death)                         Other Breach of Contract/Warranly                               (arising from provisionally complex
  Tort                                                 Collections (e.g., money owed, open                                 case type listed above) (41)
        Asbestos (04)                                      book accounts) (09)                                Enforcement of Judgment
            Asbestos Property Damage                       Collection Case-Seller Plaintiff                       Enforcement of Judgment (20)
           Asbestos personal Injury/                       Other Promissory Note/Collecllons                          Abstract of Judgment (Out of
                 Wrongful Death                                 Case                                                        County)
         Product Liability (not asbestos or            Insurance Coverage (notprovisionally                       Confession of Judgment (non-
            tox/c/env/ionmenfaf) (24)                      complex) (18)                                               domestic relations)
                                                           Auto Subrogation                                       Sister Stale Judgment
        Medical Malpractice (46)
                                                           Other Coverage                                        Administrative Agency Award
             Medical Malpractice-
                                                      Other  Contract   (37)                                          (not unpaid taxes)
                   Physicians & Surgeons
                                                           Contractual Fraud                                      Petition/Ce   rtification of Entry of
        Other Professional Health Care
                Malpractice                                Other Contract Dispute                                      Judgment on Unpaid Taxes
                                                   Real Property                                                  Other Enforcement of Judgment
        Other PI/PD/WD (23)
             Premises Liability (e.g., slip           Eminent   Domain/lnv    erae                                       Case
                                                           Condemnation (14)                                  Miscellaneous Civil Complaint
                   and fall)
                                                      Wrongful Eviction (33)                                      RICO (27)
             Intentional Bodily Injury/PD/WD
                                                      Other Real Properly (e.g., quiet title) (26)                Other Complaint (not specified
                    (e.g., assault, vandalism)
             Intentional Infliction of                    Wdt of Possession of Real Property                            above) (42)
                   Emotional Olslress                      Mortgage Foreclosure                                         Declaratory Relief Only
             Negligent Infliction of                       Quiet Title                                                  injunctive Relief Only (non-
                    Emotional Distress                    Other Real Property (not eminent                                   harassment)
                                                          domain, tandlord/tenant, or                                   Mechanics Lien
             Other PI/PD/WD
  Non-PI/PD/WD (Other) Tort                               foreclosure)                                                  Other Commercial Compiaint                  i-
        Business Tori/Unfair Business              Unlawful Detainer                                                         Case (non-forf/ftofwjornp/ex)
                                                      Commerclal (31)                                                   Other Civil Complaint
            Practice (07)
  ... . Civil Rights (e.g., discrimination,           Residential (32) .           . .                                       (non-tort/non-complex)
                                                      Drugs (38) (if the case Involves Illegal               Miscellaneous Civil Petition
              false arrest) (not civil
              harassment) (08)                        drugs, check this item; otherwise,                          Partnership and Corporate
        Defamation (e.g., slander, libel)             report as Commerc/a/ or Resfcfenf/af)                            Governance (21)
                                                   Judicial Review                                                Other Petition (not specified
               (13)
        Fraud (16)                                    Asset Forfeiture (05)                                            above) (43)
        Intellectual Property (19)                    Petition Re-. Arbitration Award (11)                             Civil Harassment
        Professional Negligence (25)                  Writ of Mandate (02)                                            Workplace Violence
                                                          Writ-Administrative Mandamus                                 Elder/Dependent Adult
            Legal Malpractice
            Other Professional Malpractice                Writ-Mand    amus on Limited Court                                Abuse
                                                              Case Matter                                              Election Contest
                 (not medical or legal)
                                                          Writ-Other Limited Court Case                               Petition for Name Change
        Other Non-PI/PD/WD Tort (35)
  Employment                                                  Review                                                  Petition for Relief Prom Late
       Wrongful Termination (36)                      Other Judicial Review (39)                                            Claim
        Other Employment (16)                             Review of Health Officer Order                              Other Civil Petition
                                                          NollcoofAppaal-Labor
                                                  _________ Commissioner Appeals
cM-oioiRw. jukrhaoMj
                                                              CIVIL CASE COVER SHEET                                                                  Pan# 2 of 2
                       Case 2:21-cv-01978-JAM-DB Document 1 Filed 10/26/21 Page 31 of 55
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                                                                                                                                                               SUIV1-100
                                        SUMMONS                                                                                     •'-for court Use only'
                                    (CITACION JUDICIAL)                                                          \     ••         fSOLO P/\RA USQ DE LA CORTE)


 NOTICE TO DEFENDANT:
 (AVISO AL DEMANDADO):                                                                           \-;i

 STATE OF CALIFORNIA, CALIFORNIA HIGHWAY PATROL, a state law
                                                                         enforcement agencyv-.'-.
 organized as part of the California State Transportation Agency ("CALSTA
                                                                          ")
                                                                                                                            ■r.                      fc.. ,
 YOU ARE BEING SUED BY PLAINTIFF:
 (LO ESTA DEMANDANDO EL DEMANDANTE):                                                        ■:?4
                                                                                                                            'M?A "flu
                                                                                                                                                    v,        f ,'i



 ADRIAN ROMERO JR.
  NOTICE! You have been sued. The court may decide against you •without your being
                                                                                                heard unless you respond within 30 clays. Read the information
  below.
    You have 30 CALENDAR DAYS after this summons and legal papers are served
                                                                                              on you to file awrllten response at this court and have a copy
  served on the plaintiff. A letter or phone call will not protecl you. Your written response
                                                                                                  musl be In proper legal form if you want the court to hear your
  case. There may be a court form that you can use for your response. You can find
                                                                                           these court forms and more Information at the California Courts
  Online Self-Help Center (Www.coutUnfo.ca.gov/seKhelp), your county law library,
                                                                                         or the courthouse nearest you. If you cannot pay the Tiling fee, ask the
  court clerk for a fee waiver form. If you do not file your response on lime, you may
                                                                                           lose the case by default, and your wages, money, and property may
 be taken without further warning from Hie court.
    There are other legal requirements. You may want to call an attorney right away,
                                                                                             if you do not know an attorney, you may want to call an attorney
 referral service. If you cannot afford an attorney, you may be eligible for free legal
                                                                                          services from a nonprollt legal services program. You can locate
 these nonprofit groups at (he California Legal Services Web site (www.lawhelpcaliforn
                                                                                                la.org), the California Courts Online Self-Help Center
  {mvw.courtlnfo.ca.gov/solfhelp), or by contacting your local court or county bar association
                                                                                                     . NOTE: The court has a statutory Hen for waived fees and
 costs on any settlement or arbitration award of $10,000 or more in a civil case. The
                                                                                            court's Hen must be paid before the court will dismiss the case.
 (AVISOI Lo han demandado. Si no responds dentro de 30 dfas, la code puede decldlren
                                                                                                     su confra sfn escuchar su version, Lea la Info/macidn a
 conKnuacfdn.
    Tlene 30 DlAS DE CALENDARIO despuds de que le entreguen esia cltacldn y papeles
                                                                                                     legates para presenter una respuesta por escrito en esta
 corte y hacer gue se enfregue una copta al domandante. Una cade o una llamada
                                                                                           telefdnica no lo protegen. Su respuesta por escrito tlene que ester
 en formato legal correcto si desea que procesen su caso en la corte. Es poslble que
                                                                                              hays un formularb que usted pueda user para su respuesta.
 Puede encontrar estos formularies de la code ymds Informacldn en el Centro de
                                                                                         Ayuda de las Codes de California (mvw.sucode.ca.gov), en la
 blbtloteca de leyesde sucondado o enla code que le quede mds cerca. SI no puede
                                                                                                pagar la cuota de presentacldn, plda al secretarlo de la code que
 le de un formularb de exencldn de pago de cuolas. SI no presenia su respuesta
                                                                                        a tiempo, puede perder el caso por Inmnplimlento y la code le podb
 qultar su sueldo, dinero y blenes sin mrts advcrtencia.
    Hay otros requisites legales. Es recomendable que llame a un abogado inmedbtam
                                                                                                 ente. SI no conoce a un abogado, puede llamar a un servicio de
 remisbn a abogados. SI no puede pagar a un abogado, es poslble que cumpla con
                                                                                             los requisites para obtener setvlcbs legales gratultos de un
 programo de serviclos fegaJes sin fines de lucro. Puede encontrar estos grupos sin
                                                                                            fines de lucro en el sllb web de California Legal Serv/ces,
 {www.lawhelpcallfornla.org), en el Centro de Ayuda de las Codes de California, (www.suco
                                                                                                      de.ca.gov) oponbndose enconlaclo con la code o el
 coleglo de abogados locales. AVISO: Por ley, la code tlene derecho a reclamar las
                                                                                            cuotas y los costos exentos por Imponer un gravamen sobre
 cuelqubrrecuperacbn de $10,000 6 m&s de valor reclblda mediants un acuerdo
                                                                                         o una concesbn de arbltraje en un caso de derecho civil. Tlene que
 pagar el gravamen de la code antes de que la code puoda desechar el caso.
The name and address of the court Is:
                                                                                                                  CASE NUMBER: (Ntimero del Caso):
(El nombre y direcclon de la corte es): SUPERIOR COURT OF SACRAM
                                                                                          ENTO
Gordon D. Schaber County Courthouse, 720 9th Street, SACRAMENTO,
                                                                                          CA 9S814

The name, address, and telephone number of plaintiffs attorney, or plaintiff
                                                                             without an attorney, is: (El nombre, la direccidn y el ndmero
de ieldfono del abogado del demandante, o del domandante que no tlene
                                                                          abogado, es):
Denise Eaton-May, Esq. 1290 B Street, Suite 316, Hayward, CA 94541,
                                                                        510.880.1345
DATE:
(Fecha)
            AUG     - 4    20Z1                                               Clerk, by                                          , Deputy
                                                                              (Secretarlo)           M. WHITAKER                 (Adjunto)
(For proof of service of this summons, use Proof of Service of Summons
                                                                         (form POS-010).)
(Para prueba de entrega de esta oltatldn use el formularb Proof of Service
                                                                             of Summons, (POS-010).)
 |S£AL)                          NOTICE TO THE PERSON SERVED: You are served
                                 1. |    | as an Individual defendant,




         flit
                                 2. r I as the person sued under the fictitious name of (specify):

                                      3.   m or* behalf of (specify): State of California, Calif. Highway Patrol

                                           under: f     \ CCP 416.10 (corporation)               [   l CCP 416.60 (minor)
                                                    I  1 CCP 416.20 (defunct corporation)              CCP 416.70 (conservatee)
                                                   l   1 CCP 416,40 (association or partnership) l  1 CCP 416.90 (authorized person)
                                                   m other (specz/y).' State law enforcement agency, part of the CALSTA
                                      4.   |    | by personal delivery on (date)
Porni Adopted for Mandatory Usb                                                                                                                                 Paiio 1 of 1
Judicial Council of California                                          SUMMONS                                                     Code of Civil Proceduru §§ 412.20.460
SUM-100 [Rov. Julyl.ZOUg]                                                                                                                               ivivw.coi/rts.ca.flov
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                                                                   I



          JoUlUDg                                                                                 ForCouiUJse Only

    &
     r#             •i           SUPERIOR COURT OF CALIFORNIA
    a                    t            County of Sacramento '
           vfi                      720 Ninth Street, Room 102
        tp Of       &
                     3              Sacramento, CA 95814-1311

 PETITIONER/PLAINTIFF:       A(Wan FloKJS


 RESPONDENT/DEFENDANT:
                               California Highway Patrol and Docs 1-20


                             ORDER RE: DELAY IN SCHEDULING                                        CASE NUMBER:,
                         INITIAL CASE MANAGEMENT CONFERENCE                                      34-2021-00305203



The Court finds good cause to delay the scheduling of the initial Case Management Conference for
this case given the COVID-19 pandemic and its Impact on court-wide operations. Among the
affected operations is the Court's Case Management Program (CMP). The Court’s CMP calendars
have been and remain suspended until further notice. After the CMP Departments resume
operations, the Court wifi schedule the initial Case Management Conference in this case and issue a
Notice of Case Management Conference and Order to Appear.

The deadline for filing and service of the Case Management Conference Statements will be based
upon the date for the initial Case Management Conference once it has been scheduled.

Parties shall continue to accomplish service of all parties named in the action.

Paities shall continue to ensure that ail defendants and cross-defendants have answered, been
dismissed, or had their defaults entered.

Plaintiff shall serve a copy of this order on any party to the complaint. The cross-complainant shall
have the same obligation with respect to the cross-complaint

                                                                                                                                       ;-

                                                                                         RICHARD K, SUEYOSHl
Dated: 7/30/2021
                                                                       Richard K, Sueyoshi, Judge of the Superior Court                :




                                                                                                                                   :
                                                                                                                     Page 1 of 1
                                   Order re: Delay in Scheduling initial Case Management Conference
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     1   DENISE EATON-MAY, ESQ. (SEN 116780)
         LAW OFFICES OF DENISE EATON-MAY, PC
 2       1290 B Street, Suite 316
     3   Hayward CA 94541
         Tel.: 510.888.1345
 4       Fax: 510,315.3015
         Email: clenise.maY@eatQn-mavlaw.com
 5

 6       Attorney for Plaintiff
         ADRIAN ROMERO, JR.
 7
 8
                            SUPERIOR COURT FOR THE STATE OF CALIFORNIA
 9
                                     COUNTY OF SACRAMENTO
10

11

12       ADRIAN ROMERO, JR.,                    CASE NO.: 34-2021-00305203
         Plaintiff,
13
                                                FIRST AMENDED COMPLAINT FOR
                                                DAMAGES
14
                      vs.
15                                              1.    Discrimination -Violation of Americans
                                                      With Disabilities Act (ADA) (42 U.S.C.
16       CALIFORNIA HIGHWAY PATROL,                   § 12203 etseq.)
         AND DOES 1 THROUGH 20, inclusive       2.    Whistleblower Retaliation - (Cal. Labor
17                                                    Code § 1102.5)
                                                3.    Violation of California Whistleblower     .
18       Defendants.                                  Protection Act - (WPA) (Cal Gov. Code
                                                      § 8547 et scq.)
19
                                                4.    Harassment - Violation of Fair
20                                                    Employment and Housing Act (FEHA)
                                                      (Cal. Gov. Code § 12940®)
21                                                    Retaliation - Violation of FEHA (Cal,
                                                      Gov. Code § 12940(h))
22                                              6.    Failure To Prevent Discrimination,
                                                      Harassment And Retaliation - Violation
23                                                    of FEHA (Cal.Gov. Code
                                                       § 12940(h))
24

25                                              DEMAND FOR JURY TRIAL

26

27

28


                                                  i
                                      FIRST AMF.NDRD COMPLAINT
          Case 2:21-cv-01978-JAM-DB Document 1 Filed 10/26/21 Page 34 of 55



 1                                              INTRODUCTION
2            1.     Plaintiff Adrian Romero, Jr, (“Plaintiff), by and through undersigned counsel, files
3
     this civil action Complaint and Jury Demand (“Complaint”) against Defendant California Highway
4
     Patrol (hereinafter referred to as “CHP” and/or “Defendant) and Does 1 through 20. Plaintiff brings
5
     this action against his employer, CHP, for discrimination, harassment and retaliation based on
 6

 7   Plaintiff engaging in protective activity in violation of state and federal laws.

 8           2.     The following allegations are based on personal knowledge as to Plaintiffs own

 9   conduct and on information and belief as to the acts of others.
10
                                         NATURE OF COMPLAINT
11
             3.     This is a civil action in which Plaintiff, has been retaliated against at his place of
12
     employment as an Information Technology Supervisor I with the CHP, as a result of engaging in
13
     protective activity when he reported a discrimination claim and exposing improper hiring practices
14

15   by his direct Manager, Corleen Lambert.

16           4.     Immediately after reporting said conduct, Plaintiff received a series of adverse

17   employment actions affecting his terms and conditions of employment, ranging from various
18
     disciplinary actions including, but not limited to a negative Performance Appraisal and denial of
19
     timely Merit Salary Increase. Defendant also wrongfully placed Plaintiff on Interim Reporting,
20
     wrongfully issued a Memorandum of Counseling, wrongfully issued Plaintiff a Memorandum of
21
     Direction, and engaged in continuous, severe, and pervasive harassing behavior causing Plaintiff
22

23   damages.
                                                                                                             .
24   //

25   //

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     //
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          Case 2:21-cv-01978-JAM-DB Document 1 Filed 10/26/21 Page 35 of 55



 1                                              THE PARTIES
2            5.     Plaintiff, at all relevant times, is a resident in the County of Sacramento, State of
3
     California. At all times material to this action. Plaintiff was an employee of Defendant, tire California
4
     Highway Patrol and remains an employee of Defendant.
 5

 6           6      Plaintiff is informed and believes and alleges thereon that Defendant CHP is, at all
7    times relevant hereto, has been and. is a state law enforcement agency, organized as part of the
 8
     California State Transportation Agency (“CALSTA”) maintaining a place of business at 601 N. 7th
 9
     Street, Bldg. C Sacramento, CA 95811.
10
             7.     At all times relevant hereto, Defendant CHP was acting through its agents, servants,
n
12   and employees, who were acting within the scope of their authority, course of their employment, and

13   under the direct control of the Defendant CHP.

14           8.     The true names and capacities of Defendants named as DOES 1 through 20, inclusive,
15   are presently unknown to Plaintiff. Therefore, Plaintiff sues said Defendants pursuant to Section 474
16
     of the Code of Civil Procedure. Plaintiff will amend this complaint to set forth the true names and
17
     capacities of said Defendants, when ascertained. Plaintiff is informed and believes and thereon alleges
18
     that each of the fictitiously named Defendants is responsible in some manner for the occurrences
19

20   herein alleged, and that Plaintiffs damages as herein alleged were proxhnately caused by their

21   conduct.

22           9.      Plaintiff is informed and believes, and thereon alleges, that at all times herein
23
     mentioned, each Defendant named herein, was the agent and/or employee of each of the remaining
24
     Defendants, and in doing the things hereinafter alleged, was acting within the course and scope of
25
     such agency and/or employment.
26
     //
27

28

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                                           FlU SIT AMRNDF/n HOMPT .A [NT
        Case 2:21-cv-01978-JAM-DB Document 1 Filed 10/26/21 Page 36 of 55



 1                                     JURISDICTION AND VENUE
2
            10.     This is a complaint for damages for unlawful discrimination, harassment, and
3

4    retaliation in employment, brought pursuant to the Fair Housing and Employment Act (“FEHA”)

5    (Gov. Code § 12940 et seq) and Title I of the Americans with Disabilities Act of 1990, as amended

 6   (“ADA”) (42 U.S.C. § 12203 el seq.). This Court has jurisdiction, over this matter in that the Plaintiff
 7
     lives in Sacramento County and the Defendant’s primary office is located in Sacramento County.
 8
            11.     Venue is proper pursuant to Cal. Civ. Proc. Code § 394(a). The events giving rise to
 9
     the claims made herein occurred in Sacramento County, and Defendant, CHP has its principal place
10
     of business/headquarter in Sacramento County.
11

12                         EXHAUSTION OF ADMINISTRATIVE REMEDIES

13          12.     On or about March 9, 2020, Plaintiff filed a charge of discrimination with the Equal
14   Employment Opportunity Commission (“EEOC”) which was automatically dual filed with the
                                                                                                                i

15
     California Department of Fair Employment and Housing (“DFEH”). On March 18, 2020, Plaintiff
16
     received a Notice of Right to Sue from the DFEH which allows Plaintiff to file a lawsuit within one
17
     year from the date of (lie DFEFEs notice of Right to Sue or within 90 days from receipt of the federal
18

19   right to sue letter, whichever is later. The EEOC by and through the U.S, Department of Justice

20   (“DOJ”) issued a Notice of Right to Sue on April 30, 2021, and the same was received through

21   electronic message on the same date. Accordingly, Plaintiff has exhausted his administrative remedies
22   as to his discrimination, harassment and retaliation claims. On or about October 14, 2020, Plaintiff
23
     filed a claim with the State Personnel Board. In December 2020, the State Personnel Board authorized
24
     Plaintiff to pursue civil action under Government Code § 8547.
25
                                    PROCEDURAL BACKGROUND
26

27           13.    On or about March 9, 2020, Plaintiff filed a forma] complaint with the EEOC. On or

28   about March 18, 2020, EEOC served Defendant CHP with the Charge of Discrimination. Defendant

                                                         4
                                          PIPQT AM'RWnRn POK/IPl A 1WT
                                                                                                               :

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 1    CHP had 30 days to respond or request an extension, but Defendant took no action, EEOC reached
 2    out to Defendant and offered a verbal extension in which they were given until September 4, 2020, to
 3
      respond, however Defendant again failed to take any action, On September 16,2020, EEOC submitted
 4
      a Letter of Determination inviting both Plaintiff and Defendant to engage in conciliation in an effort
 5
      to reach a resolution. On September 21, 2020, EEOC provided a proposed Conciliation Agreement
 6

 7    between EEOC, Defendant, and Plaintiff, however Defendant indicated that they were unwilling to

 8    engage in conciliation. On September 24, 2020, EEOC issued a letter stating efforts to conciliate this

 9    matter were unsuccessful and the case was now being referred to the U.S. Department of Justice for
10    its review. On or about April 30, 2021, the Notice of Right To Sue was issued via email.
11

12                                        FACTUAL BACKGROUND

13           14.     Plaintiff commenced employment with the CHP on July 25, 2018, He started as an

1.4   Information Technology Associate under the supervision of Stanley Meeks, Supervisor I and Colleen
15
      Lambert (“Lambert”), Supervisor II. During his tenure as an Associate, Plaintiff received positive
16
      feedback regarding his performance, Plaintiff applied for the Information Technology Supervisor I
17
      position and was offered the job.
18
             15.     Plaintiff assumed, the Information Technology Supervisor I position in May 2019. The
19

20    Information Technology Supervisor I position had a one-year probationary period, from May 1,2019

21    to April 30, 2020.                                                                                       :

22           16.     On September 5, 2019, Plaintiff received his first performance review as an
23
      Information Technology Supervisor I. The performance appraisal was positive and stated that
24
      Plaintiffs performance was either standard or outstanding in all ten categories,
25
              17.    On November 18, 2019, Plaintiff received a concerning email from Andy Roadman
26
      (“Roadman”), one of Plaintiffs direct reports. Roadman is an employee of CHP with a disability.
27

28    Roadman informed Plaintiff that he did not get the lateral position that he applied to and expressed


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         Case 2:21-cv-01978-JAM-DB Document 1 Filed 10/26/21 Page 38 of 55



 1    his dissatisfaction with the way Lambert handled the hiring process. In addition, he indicated that he
2     believed that Lambert improperly showed preferential treatment or favoritism toward another
 3
      applicant which Lambert knew personalty, in violation of the civil service/merit system, Based on
 4
      Roadman’s email, Plaintiff in good faith, reasonably believed that Roadman’s disability could be a
 5
      factor for why Lambert did not select Roadman, for the position.
 6

 7            18,    Due to the nature of Roadman’s concerns, Plaintiff notified their Commander, Jay

 8    Song (as dictated by Defendant’s policy) and referred Roadman to Human Resources (HR), both of

 9    whom Plaintiff believed were better suited to address Roadman’s concerns. Plaintiff reasonably
10
      believed that Roadman’s concerns violated EEO and/or ADA laws, being that Roadman is disabled,
11
      physically confined to a wheelchair, and was overlooked for a position he was well qualified for and
12
      was in fact already performing some of tlie job duties.
13
              19.    According to CPI? policy, HPM 10,12, Ch 6(12)(a)(l), “If any employee believes they
14

.15   have been discriminated against and brings it to the attention of a supervisor . . . the supervisor . . .

16    shall notify the affected commander”, Defendant’s policy further states, “The supervisor .. .is legally
17    obligated to ensure the work environment is free of discrimination.
18
              20.    On the next day, November 19, 2019, Plaintiff was called to the office of Lambert.
19
      Lambert accused him of violating the CLIP rules. Lambert told Plaintiff that he broke the chain of
20
      command when he did not inform Lambert regarding Roadman’s complaint, despite Plaintiff having
21
      complied with CLIP reporting policy.
22

23            21.    On November 21, 2019, Plaintiff was verbally chastised by his then supervisor,

24    Alfredo Rivera (“Rivera”) for allegedly violating the chain of command when Plaintiff notified
25    Commander Song without informing Lambert of Roadman’s grievance and when Plaintiff referred
26
      Roadman to HR.
27
28

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 1          22.     After Plaintiff reported to Commander Song the disparate treatment complaint of
 2   Roadman, Plaintiff immediately observed that the CHP managements treatment and attitude toward
 3
     him changed. Prior to reporting Roadman’s complaint, he communicated with management on a
 4
     regular basis and attended management meetings. After November 19, 2019, he was kept out of loop
 5
     of communication on work-related matters by Rivera and Lambert, In addition, Rivera began to
 6

 7   bypass Plaintiff and directly communicated with Plaintiffs staff on work-related matters, thereby

 8   interfering with Plaintiffs ability to properly manage his team.

 9          23.     Plaintiff also began to experience a series adverse employment actions. On January 3,
10
     2020, Rivera gave Plaintiff a negative performance appraisal for the period covering September 26,
11
     2019 to January 2, 2020. Plaintiff was not apprised before the performance appraisal of any concerns
12
     with his performance. In addition, the performance appraisal was not focused on the quality of
13
     Plaintiffs overall performance and effectiveness of his work. Instead, Rivera based his appraisal on
14

15   four specific instances, one of which was that Plaintiff failed to take Roadman’s complaint through

16   the chain of command.

17          24.     The performance appraisal cites that Plaintiff needs improvement on 5 of the 10 areas
18
     namely, Critical Tasks, Leadership, Judgment and Problem Solving, and Interpersonal Skills, and
19
     Administrative and Specialized Assignments. What was supposed to be a performance appraisal
20
     became a write up as it alleged that Plaintiff had engaged in misconduct and was all of a sudden
21

22   deficient in 5 of the 10 areas. The performance appraisal alleged that: (1) Plaintiff was late on the

23   October 23, 2019 weekly meeting and acted irate with Rivera when Rivera approached him; (2)

24   Plaintiff failed to take Roadman’s complaint through the chain of command; (3) Plaintiff made
25   negative comments about his team and portrayed a negative attitude; and (4) Plaintiff was non-
26
     responsive to requests and non-cooperative to administrative requests. Upon reading the performance
27
     appraisal, and meeting with Rivera on January 3,2020, Plaintiff told Rivera that he felt he was “being
28

                                                        7
                                         FIRST AMRNnpn POMPI ATMT
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 1   targeted” and that “this was a personal attack” on him. Rivera directly responded, “Yes, this is
2    personal,”
3
            25.     On January 10, 2020, Plaintiff submitted a rebuttal to the January 3, 2020 negative
4
     performance appraisal stating among other things, that Rivera failed to follow proper protocol and
5
     procedures with regard to the Interim Reporting and that Rivera did not follow the performance review
 6

 7   guidelines. Plaintiff also reported in his rebuttal the improper hiring practices of Lambert in the

 8   department and misconduct/violation of policy by Rivera. Plaintiff requested that his appraisal be

 9   modified or removed to accurately reflect his performance and through his rebuttal, effectively refuted
10
     the allegations in the false and negative performance appraisal. Moreover, the inaccurate poor
11
     performance assertions were clearly motivated by retaliatory animus for Plaintiff not reporting the
12
     complaint against Lambert to Lambert rather than Commander Song. In addition, Plaintiff pointed
13
                                                                                                               ■




     out in his rebuttal how Rivera intentionally deviated from the Performance Review Guidelines when
14

15   Rivera issued a negative performance review on Plaintiff.

16          26.     On January 13, 2020, Plaintiff met with Commander Song who was in possession of
17   Plaintiffs rebuttal but stated he had not yet reviewed it. Without conducting any investigation into
18
     Plaintiffs claims, Commander Song denied Plaintiffs request for removal or modification of the
19
     negative retaliatory performance appraisal. Plaintiff informed Commander Song he was going to file
20
     an EEC complaint, Commander Song flat out told Plaintiff, “You don’t have a case”.
21

22
            27.     On January 22, 2020, Plaintiff is informed and believes that Commander Song met

23   with CPIP’s EEO Counselor Deanne Silvera and per her notes, Commander Song made it seem as if

24   Plaintiff “needed to go”, as in “not pass probation”.
25           28.    On January 31, 2020, Plaintiff met with Rivera and Isaac Ryland to discuss his
26
     performance appraisal. Plaintiff requested his EEO Counselor, Deanne Silvera be present, but was
27
     denied that right. Rivera spoke to Plaintiff in a demeaning, harassing and disrespectful manner thereby
28

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1    creating a work, environment wrought with hostility causing Plaintiff emotional distress, Rivera
2    informed Plaintiff that he was being plaeed on Interim Reporting because of the alleged failure of
3
     meeting the critical tasks noted in his January 3, 2020 performance appraisal. However, Rivera failed
4
     to follow CHP’s “Progressive Discipline Review Guidelines” by not following the proper disciplinary
5
     steps as described therein before placing Plaintiff on Interim Reporting. At no given point did Rivera
 6

7    issue Plaintiff a Memorandum of Counseling, Corrective Memoranda, Memorandum of Direction;

 8   Censurable CHP2, Incident Report as required by the Highway Patrol Manual (“HPM”) 10.10, Ch.5

 9   3(c)(1).
10              29.   CHP’s “Progressive Discipline Review Guidelines” require that certain disciplinary
11
     steps occur before placing an employee on Interim Reporting. Highway Patrol Manual (“HPM”)
12
     10.10, Ch.5 3(c)(1) requires that one receive a Memorandum of Counseling, Corrective Memoranda,
13
     Memoranda of Direction, Censurable CHP2 before one is placed on Interim Reporting. Adherence to
14

15   this process was confirmed by Commander Song at Defendant’s Weekly Managers meeting on

16   October 7, 2019. Commander Song indicated that proper “Documentation must be made before
17   taking [any disciplinary] action”. Additionally, Commander Song stated, “Interim Reporting cannot
18
     be the first action. The issue must have previously been documented via a MOC and MOD”,
19
                30.   On February 6, 2020, Rivera sent Plaintiff a Memorandum of Counselling citing
20
     Plaintiff for allegedly displaying unprofessional behavior throughout the January 31, 2020 meeting.
21

22   Rivera claimed that Plaintiff was defensive and unprofessional towards him; created a disturbance in

23   the work area and attempted to “bark orders” at him. However, it was Rivera who was unprofessional

24   and downright degrading and demoralizing by describing Plaintiff as an animal by stating Plaintiff
25   was “barking orders”. Rivera disliked and refused to go over the Interim Reporting with Plaintiff as
                                                                                                                ,
26
     Plaintiff was only trying to ascertain why he was plaeed on Interim Reporting in the first place. Rivera
27
     was so bothered by Plaintiffs request that he aggressively pulled his chair up against the table, leaned
28

                                                          9
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 1   over, and with a stern look and harsh tone told Plaintiff, “I wrote it, I know what’s in it, you need to
2    read it,”
3
             3h Plaintiff submitted a rebuttal to Rivera’s Memorandum of Counseling on or about
4
     February 27, 2020. Plaintiff also in his rebuttal requested a review of the decision to place him on
5
     Interim Reporting.
6

 7
             32.       On February 10, 2020, Plaintiff filed an internal complaint with C'HP’s EEO

 8   department about the retaliatory treatment he received from Defendant and the discriminatory and

 9   preferential treatment that Lambert utilized in handling the hiring process involving Roadman.
10
     Unfortunately, the discriminatory and retaliatory behavior against Plaintiff continued. Rivera and
11
     Lambert continue to nitpick at absolutely everything Plaintiff did and treated Plaintiff differently th an
12
     his peer, Jason. Strickland, who held the same position as Plaintiff. For example, Mr. Strickland was
13
     privy to the work related information necessary to do the job, while Plaintiff was excluded.
14
15               33.   On February 14, 2020, Plaintiff met with Chief Scott Howland (“Howland”) and

16   Commander Kimberly Holder (“Holder”) regarding the internal EEO complaint filed a few days

17   earlier. Chief Howland stated there was a lot of information contained in his rebuttal and would need
18
     another 30 days to review. No further meeting with Chief Howland ever occurred, Instead, it was
19
     Commander Holder and Rivera who met with Plaintiff and handed him modified versions of his
20
     Performance Appraisal, Interim Reporting, and Memorandum of Counseling. The modifications
21
     made were nothing more than minor edits and nothing of substance which were pretextual for the
22

23   purpose of removing the original write-ups so Defendant would then have the ability to remove all of

24   Plaintiffs rebuttals from his personnel file, Holder stated that it was to Plaintiff s “benefit as it is only
25   fail' to him for those documents to be removed”. She further stated that it is CHP’s policy to remove
26
      any rebuttals or related documents when a “corrected document” is replaced. Defendant modified the
27
      write-ups purposely keeping the original dates of those documents making it seem as if the originals
28

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1    never existed. Plaintiff specifically requested Defendant to leave all rebuttals in his personnel file and
2    to make a notation on the corrected write-ups by adding an amended memorandum reflecting
3
     modifications being made by CHP and to specify the correct date of such modifications to avoid any
4
     ambiguity. However, Defendant proceeded to remove Plaintiffs rebuttals and did not correct: nor
5
     clarify the dates of the modified version of documents.
6

 7           34.    Plaintiffs performance was never an issue or in question until he reported and opposed

 8   discrimination against Roadman, informed Roadman of his EEO rights and forwarded his complaint

 9   to Commander Song. Plaintiffs prior appraisals and reviews were exemplary. Since Plaintiff reported
10   Roadman's concerns to Commander Song, referred Roadman to Human Resources and filed his own
11
     EEO complaint, he has been subjected to ongoing harassment and unwarranted adverse employment
12
     actions and received disciplinary write ups three times in less than 45 days for infractions that
13
     regularly go undisciplined within Defendant CHP,
14
15           35.     Lambert’s practice of showing favoritism in hiring decisions and disregarding the

16   merit system rules is a direct violation of CLIP’S merit base civil service system of the California State

17   Constitution. It is CLIP’S policy to provide equal employment opportunities for all applicants and
18
     employees at all levels including at the hiring and promoting levels without regard to disability.
19
             36.     On March 9, 2020, Plaintiff filed his claim with the EEOC.
20
                                          FIRST CAUSE OF ACTION
21
                                       DISABILITY DISCRIMINATION
22

23                           In Violation of ADA (42 U.S.C. § 12203 et. seq.)

24                                          (Against Defendant CHP)
25           37.     Plaintiff incorporates herein all previously alleged paragraphs 1 through 36 of the
26
     Complaint.
27
28

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 1          38.     The ADA prohibits discrimination against an individual "because such individual has
2    opposed any act or practice made unlawful by this chapter or because such individual made a charge,
3
     testified, assisted, or participated in any manner in an investigation, proceeding, or hearing under this
4
     chapter." 42 U.S.C. § 12203(a). Olivevas-Sifre v. Puerto Rico Dep’t of Health 214 F,3d 23, 26 (1st
5
     Cir. 2000)
6
 7          39.     To establish a prima facie case of retaliation under the ADA, a plaintiff must establish

 8   that (1) the employee was engaged in an activity protected by the ADA, (2) the employer was aware

 9   of that activity, (3) an employment action adverse to the plaintiff occurred, and (4) there existed a
10
     causal connection between the protected activity and the adverse employment action," Santo v.
11
     Douglas Flliinan-Gibbons & Ives, Inc., 183 F.3d 155, 159 (2d Cir. 1999); [A] plaintiff need not
12
     establish that the conduct he opposed was actually a violation of the statute so long as he can establish
13
     that he possessed a good faith, reasonable belief that the underlying challenged actions of the
14
15   employer violated that law." Id

16           40.     CHP is, and was at ail times material hereto, an employer within the meaning of the
17   ADA, and as such, is barred from discriminating on the basis of the individuaTs disability to job
18
     application procedures, the hiring, and advancement of employees.
19
             41.     When Plaintiff reported and assisted Roadman in his discrimination claim against            I
20
     Lambert, Plaintiff was engaging in protected activity and asserting his rights under ADA and FEH A,
21
22   in that CHP cannot discriminate against a person with a disability or because of their disability.

23           42.     Following Plaintiffs reporting of Roadman’s complaint to Commander Song and

24   referring Roadman to Human Resources, Plaintiff suffered retaliation in the form of multiple
25   unwarranted adverse employment actions such as write-ups and memorandums; he was given a poor
26
     performance appraisal which was not based on the CLIP guidelines; he was placed on interim reporting
27
28

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                                                                                                               ;



1    for an extended period of time which prevented him from applying to other positions; his merit
2    increase was denied because of die baseless retaliatory accusations from Lambert and Rivera.
3
              43.   Plaintiffs involvement in protective activity was the motivating factor for CHP’s
4
     adverse employment actions towards Plaintiff. Plaintiff had not received write-ups and memorandums
5
     from Lambert and Rivera until after Plaintiff reported Roadman’s allegations against Lambert to
6

7    Commander Song. Rivera’s negative performance appraisal on Plaintiff was not based on Plaintiffs

8    overall performance but improperly grounded on Plaintiffs conduct of directly reporting Roadman’s

9    grievance to Commander Song. Plaintiffs reporting of Roadman’s complaint was consistent with
10   CHP policy. Notwithstanding, Plaintiff was placed in interim reporting several times and was denied
11
     merit salary increase by Lambert and Rivera who both expressed their retaliatory intent against him,
12
     under the guise of “failure to follow the chain of command”.
13
              44.   As a direct and proximate result of Defendants’ actions as alleged herein, CHP has
14

15   breached its duties imposed on all employers as established by statute.

16            45.   As a direct and proximate result of the CLIP’S discrimination, Plaintiff has suffered

17   lost income and salary increases, and other employment opportunities, in an amount to be proven at
18   tidal.
19
              46.   As a further proximate result of Defendants’ unlawful actions, Plaintiff has suffored
20
     emotional pain, humiliation, mental anguish, and distress.
21
              47.   The conduct of CHP alleged above was deliberate, willful and malicious. Further, the
22

23   actions taken against Plaintiff were carried out with reckless disregard to the truth and the rights of

24   Plaintiff, and were despicable actions taken without privilege or justification.
25                                     SECOND CAUSE OF ACTION
26

27
28

                                                        13
                                          FIRST AMENDED COMPLAINT
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 1                   VIOLATION OF THE WHISTLEBLOWER PROTECTION ACT
2                                      (Cal. Lab. Code § 1102.5 et seq.)
 3
                                           (Against Defendant CHP)
4
               48.   Plaintiff incorporates all previously alleged paragraphs 1 through 47 of the Complaint.
 5
               49.   Cal. Labor Code § 1102.5 prohibits employers from retaliating against an employee
 6

 7   for disclosing information, or because the employer believes that the employee disclosed or may

 8   disclose information, to a government or law enforcement agency, to a person with authority over the

 9   employee or another employee who has the authority to investigate, discover, or correct the violation
10
     or noncompliance, or for providing information to, or testifying before, any public body conducting
11
     an investigation, hearing, or inquiry, if the employee has reasonable cause to believe that the
12
     information discloses a violation of state or federal statute, or a violation of or noncompliance with a
13
     local, state, or federal rule or regulation, regardless of whether disclosing the information is part of
14

15   the employee’s job duties.

16             50.   Furthermore, according to Cal. Lab. Code § 1102.5(b), an employer, or any person

17   acting on behalf of the employer, shall not retaliate against an employee for disclosing information,
18
     or because the employer believes that the employee disclosed or may disclose information, to a
19
     government or law enforcement agency, to a person with authority over the employee or another
20
     employee who has the authority to investigate, discover, or correct the violation or noncompliance,
21

22   or for providing information to, or testifying before, any public body conducting an investigation,
                                                                                                                 i




23   hearing, or inquiry, if the employee has reasonable cause to believe that the information discloses a

24   violation of state or federal statute, or a violation of or noncompliance with a local, state, or federal
                                                                                                                 :
25   rule or regulation, regardless of whether disclosing the information is part of the employee’s job
26
     duties.
27

28

                                                        14
                                          FIRST AMENDED COMPLAINT
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 1          51.     To establish a prima facie case of retaliation under California whistleblower statutes,
2    it must be shown that the plaintiff engaged in protected activity and was subjected by the employer to
3
     adverse employment action, and that there is a causal link, between the two. McVeigh v Recology San
4
     Francisco, (2013). 213 Cal.App.4th 443, 455
5
            52      Plaintiff engaged in a protective activity when he reported Roadman’s complaint
 6

 7   against Lambert to Commander Song and referred Roadman to HR and complained about Lambert’s

 8   violation of civil service system rules protected by California State Constitution.

 9          53.     Commander Song is a person with authority within the meaning of Cal. Lab. Code
10   § 1102.5(b)
11
            54.     Plaintiff reported that Lambert’s hiring practices are not only improper and unethical
12
     but are also in direct violation of laws prohibiting discrimination by reason of disability such as the
13
     ADA and FEHA.
14
15           55.    Plaintiff also contends that Lambert’s hiring practices are in breach of CLIP’S merit

16   base civil service system of the California State Constitution.

17           56.     Defendant also violated its policy to provide equal employment opportunities for all
18
     employees at all levels including at the hiring and promoting levels without regard to disability.
19
             57.    Plaintiff in good faith reasonably believed that Roadman’s complaint against Lambert
20
     merited an investigation.
21
             58.     Plaintiff immediately notified Commander Song in order to investigate Roadman’s
22

23   allegations.

24           59.     Plaintiff suffered adverse employment action when he reported Lambert’s unlawful
25   discriminatory and preferential treatment conduct, including but not limited to, multiple write-ups and
26
     memorandums, negative performance appraisal, extended interim reporting which prevented Plaintiff
27
      from applying for a promotion and denial of timely merit salary increase.
28

                                                         15
                                           FIRST AMRNDF.D COMPLAINT
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                                                                                                               :


 J                                      THIRD CAUSE OF ACTION
2     VIOLATION OF THE CALIFORNIA WHISTLEBLOWER PROTECTION ACT (WPA)
3
                                        (Cal. Gov. Code § 8547 et seq.)
4
                                           (Against Defendant CHP)
 5
            60.     Plaintiff incorporates all previously alleged paragraphs 1 through 59 of the Complaint.
 6

7           61.     Under the California Whistleblower Protection Act (Cal, Gov. Code, § 8547 et seq.),

 8   a state employee has a right of action against any person who retaliates against him or her for having

 9   made a ‘‘protected disclosure.” The statute prohibits a “person” from intentionally engaging in acts of
10
     reprisal, retaliation, threats, coercion, or similar acts against the employee (Cal. Gov. Code,
11
     § 8547.8(c)), Furthermore, Cal. Gov. Code § 8547 et seq. protects state employees who report: 1.
12
     violations of law, regulations, executive or court orders; 2.) any condition that may significantly
13
     threaten the health or safety of employees or the public; and 3.) governmental activity that is
14
15   economically wasteful or involves gross misconduct, incompetency, or inefficiency.

16          62.     Plaintiff made a protected disclosure in good faith when he notified Commander Song
17   of Lambert’s improper hiring practice in violation of law.
18                                                                                                             ;
            63.     After making said protected disclosure, Plaintiff was subjected to intentional acts of
19
     reprisal, retaliation, threats, coercion, or similar acts in violation of Cal, Gov Code § 8547,
20
            64.     Plaintiff reasonably believed that Roadman’s allegations concerning Lambert’s
21

22   conduct in handling the hiring process in which Roadman applied for was discriminatory as she did

23   not offer the position to Roadman. Plaintiff reasonably believed that Roadman was the most qualified

24   candidate for the position, Lambert selected an acquaintance who was unqualified for the position.
25           65.    Following Plaintiffs reporting of violations of the merit system rules by Lambert
26
     Plaintiff was ridiculed and issued adverse employment actions by Lambert and Rivera under the
27
     pretext of violating the chain of command. Plaintiff was subjected to multiple write-ups and
28

                                                      16
                                           FIRST AMENDED COMPLAINT
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 1   memorandums; he received a negative performance appraisal; his interim reporting was extended for
2    a long period of time; he was prevented from applying for a promotion; and he was denied his merit-
3
     salary increase.
4

 5
                                         FOURTH CAUSE OF ACTION
6

7                                                HARASSMENT

 8                                          (Cal Gov. Code §12940®)

 9                                          (Against Defendant CHP)
10           66.        Plaintiff incorporates herein all previously alleged paragraphs 1 through 65 of the
11
     Complaint.
12
             61.        The Fair Employment and Housing Act (FEHA) prohibits harassment based on the
13
     employees’ protected characteristics including, but not limited to, their mental disability and physical
14

15   disability. Cal. Gov, Code § 12940(j). Employers are liable for the harassment of their supervisors. Id

16   0X1).
17           68.        Defendant subjected Plaintiff to continuous, pervasive, and severe harassment and
18
     thereby created a hostile work environment as detailed herein.
19
             69.        The hostile work environment, created by the CHP managers and supervisors were
20
     severe and pervasive based on the frequency of the actions, the nature of the harassment, including
21
     egregious statements made by Defendant’s supervisors expressing animus towards Plaintiff.
22
23           70.        Lambert and Rivera subjected Plaintiff to continuous, pervasive and severe harassment

24   when he reported Roadman’s allegations against Lambert to Commander Song. In close proximity to
25                                                                                                              ,
     Plaintiff’s report to Commander Song, Plaintiff was issued several write-ups and memorandums in a
26
     span of a couple weeks from the time that he reported Lambert’s misconduct to Commander Song,
27
     Plaintiff was given a poor performance appraisal allegedly because he failed to follow the chain of
28

                                                          17
                                            FIRST AMENDED COMPLAINT
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1    command in reporting Roadman’s complaint. Lambert and Rivera intentionally gave Plaintiff last
2    minute assignments without enough information and short deadlines and intentionally kept: Plaintiff out
3
     of discussions pertaining to Ms team and the IT department. Rivera would yell and scream at Plaintiff
4
     regularly at meetings, speak to him in a disrespectful, demeaning manner and intentionally undermine
5
     his ability to manage his staff and assignments.
6

 7
            71.     Plaintiff considered the aforementioned conduct to be discriminatory, retaliatory and

 8   harassment in nature, and as a result reported said conduct, both verbally and in writing to numerous

 9   management level employees and departments of Defendant including but not limited to Rivera,
10   Lambert, Commander Song, Commander Holder, Chief Howland, and CHP’s internal .EEC
11
     department.
12
             72.    As a result of the continuous, pervasive, and severe harassment described above,
13
     Plaintiff suffered damages, including economic losses, and emotional distress, in an amount to be
14

15   determined at trial.

16           73.     Because Commander Holder, Lambert and Rivera are managers/supervisors within the

17   meaning of the FEHA, CHP is liable for their harassing conduct.
18                                       FIFTH CAUSE OF ACTION
19
                                                RETALIATION
20
                                          (Cal. Gov. Code § 12940(h))
21
                                           (Against Defendant CHP)
22

23           74.     Plaintiff incorporates all previously alleged paragraphs 1 through 73 of the Complaint.

24           75.     California law guarantees each employee’s right to a workplace free from unlawful
25    retaliation because the employee opposed discriminatory or harassing practices that are unlawful under
26
       the FEHA. Employers are liable for the retaliatory conduct of supervisors. Cal. Gov. Code § 12940(h).
27
28

                                                         ]8
                                           FIRST AMENDED COMPLAIN']’
        Case 2:21-cv-01978-JAM-DB Document 1 Filed 10/26/21 Page 51 of 55



 1           76.     The elements of a claim for retaliation in violation of section 12940, subdivision (h) , are;
2    (1) the employee's engagement in a protected activity, i.e., “opposfing] any practices forbidden under this
3
     part”; (2) retaliatory animus on the part of tire employer; (3) an adverse action by the employer; (4) a causal
4
     link between the retaliatory animus and the adverse action; (5) damages; and (6) causation. Mamou v.
5
     Trendmst Resorts, foe. ,165 Cal. App. 4th 686,713 (2008).
6

 7           77.     After Plaintiff reported Roadman’s discrimination/disparate treatment complaint/concern

 8   against Lambert to Commander Song, Lambert and Rivera retaliated by immediately verbally

 9   reprimanding him for not following the chain of command; he was excluded bom team and management
10
     communications, he was given a negative Performance Appraisal, placed on Interim Reporting, denied a
11
     timely Merit Salary Increase and issued other disciplinary actions. Plaintiff, had previously received good
12
     performance reviews, was not aware of any performance concerns until, after he bypassed Lambert with
13
     Roadman’s complaint against her and reported Roadman’s complaint in a manner consistent with CHP
14

15   regulations.

16           78.      After Plaintiff filed his discrimination complaint to the internal LEO, CHP, instead of

17   fmding a remedy for the discrimination and retaliation, Commander Song further retaliated by denying
18
     Plaintiff s request to report to a different supervisor and refused to reverse or modify Plaintiff s performance
19
     evaluation despite overwhelming evidence of bias stated in Plaintiffs rebuttal. Plaintiffs allegations of
20
     retaliation and harassment were contained in his rebuttals and were never investigated. CHP’s failures,
21

22   actions and inactions as described herein amounted to adoption and ratification of the retaliatory

23   conduct, herein described, to which Plaintiff was subjected to on a daily and ongoing basis.

24          79.       As a result of CLIP’S conduct, Plaintiff has suffered damages, including economic
25    losses, and emotional distress, in an amount to be determined at trial.
26
            80.       CHP’s actions were willful, malicious, egregious, and intentional, and injured the
27
      Plaintiff, with a conscious disregard of Plaintiffs rights. Defendant’s actions were willful, malicious,
28

                                                        19
                                             FIRST AMENDED COMPLAINT
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 1   fraudulent and oppressive, and were committed with the wrongful intent to injure Plaintiff and in
2    conscious disregard of his rights.
3
     Hi
4
                                          SIXTH CAUSE OF ACTION
5
          FAILURE TO PREVENT DISCRIMINATION, HARASSMENT AND RETALIATION
 6

 7                                        (Cal. Gov. Code § 12940(k))

 8                                         (Against Defendant CHP)

 9
             81.      Plaintiff incorporates herein all previously alleged paragraphs 1 through 80 of the
10

11   Complaint.

12           82.      Under the law, the employer’s duty to prevent harassment and discrimination is

13    affirmative and mandatory. Retaliation is a form of discrimination actionable under Government
14
      Code section 12940, subdivision (k). See Taylor v. City ofLos Angeles Dept, of Water & Power, 144
15
      Cal. App. 4th 1216, 1240 (2006). Cal. Gov. Code § 12940, subdivision (h) and corresponding
16
      regulations of the California Fair Employment and Housing Commission, prohibits retaliation
17
      against a person in terms conditions or privileges of employment on the basis of engagement in
18

19    protected activity.

20           83.      The essential elements of failure to prevent discrimination, harassment or retaliation
21    are: 1) plaintiff was subjected to discrimination, harassment, or retaliation; 2) defendant failed to
22
      take all reasonable steps to prevent discrimination, harassment or retaliation; and 3) this failure
23
      caused plaintiff to suffer injury, damage, loss or harm. See Lelaind v. City & County of San
24
      Francisco, 576 F.Supp.2d 1079, 1103 (N.D. Cal. 2008) citing California Civil Jury Instructions
25
      (BAJI) 12.11.
26

27
28

                                                        20
                                           FIRST AMENDED COMPLAINT
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1            84.     Plaintiff engaged in protected activity when he reported Roadman's discrimination
2    complaint against Lambert to Commander Song. Plaintiff also filed complaints about the
3
     mistreatment and violation of his civil rights. In violation of its obligations, CHP failed to conduct a
4
     prompt and thorough investigation of Plaintiffs complaints.
5
             85.     CHP failed to take all reasonable steps to prevent harassment, discrimination, and
6

7    retaliation that it knew was occurring based upon protected activity and instead permitted its agents

 8   to engage in retaliation against Plaintiff for making complaints and participating in investigations.

 9           86.      After Plaintiff filed his discrimination complaint to the internal EEC, CLIP, instead of
10
     finding a remedy for the discrimination and retaliation, Commander Song permitted and participated in
11
     further retaliation by denying Plaintiff s request to report to a different supervisor and refused to reverse or
12
     modify Plaintiffs performance evaluation despite overwhelming evidence of bias stated in Plaintiffs
13
     rebuttal. Commander Holder failed to take steps to prevent the harassing and retaliatory conduct she was
14

15   clearly aware was occurring,

16           87.     As a direct result of defendant CHP’s failure to take all reasonable steps to prevent
17   these unlawful employment practices, Plaintiff was subjected to unlawful discrimination, harassment
18
     and retaliation by CPIP’s commanders, managers, and supervisors, and suffered economic injuries,
19
     including but not limited to, lost wages and compensation, in an amount to be proven at trial.
20
             88.      As a direct result of CHP ’ s failure to take all reasonable steps to prevent these unlawful
21
22   employment practices, Plaintiff was subjected to unlawful discrimination, harassment and retaliation

23   by CPIP's commanders, managers, and supervisors, and suffered emotional distress, including but not

24   limited to emotional pain and suffering, mental anguish, humiliation, depression and hopelessness, in
25   an amount to be proven at trial.
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28

                                                        21
                                             FIRST AMENDED COMPLAINT
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 1                                      DEMAND FOR JURY TRIAL
2           Plaintiff demands a trial by jury of all issues so triable in this action. Plaintiff requests a jury
3    trial on all questions of fact raised by this Complaint.
4
 5                                          PRAYER FOR RELIEF

 6           WHEREFORE, Plaintiff prays judgment against Defendant as follows:
 7           1. For general and compensatory damages according to proof;
 8           2. For penalties pursuant to the ADA (42 U.S.C. § 12203 et. seq)\
 9           3. For cost of suit and attorney’s fees as allowed by law; and
10           4. For such other relief as may be deemed proper by the Court.
11
12   Date: September 28, 2021                        LAW OFFICES OF DENISE EATON-MAY
13
14
                                                     By: pmiMjCMM WA//
15                                                           DENISE EATON-MAY
                                                             Attorneys for Plaintiff
16                                                           ADRIAN ROMERO JR.
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                                           FIRST AMENDED COMPLAINT
        Case 2:21-cv-01978-JAM-DB Document 1 Filed 10/26/21 Page 55 of 55



                                   CERTIFICATE OF SERVICE

                                                Superior Case No.          34-2021-00305203
    Case                                        Temporary USDC
   Name:            Romero v. CHP               ED Case No.                   2:21-at-01012

I hereby certify that on October 25, 2021, I electronically filed the following documents with the
Clerk of the Court by using the CM/ECF system:
NOTICE OF REMOVAL OF CIVIL ACTION TO THE UNITED STATES DISTRICT
COURT FOR THE EASTERN DISTRICT OF CALIFORNIA PURSUANT TO 28 U.S.C.
§§ 1331 AND 1441(B) (FEDERAL QUESTION)
Participants in the case who are registered CM/ECF users will be served by the CM/ECF system.
I am employed in the Office of the Attorney General, which is the office of a member of the
California State Bar at which member's direction this service is made. I am 18 years of age or
older and not a party to this matter. I am familiar with the business practice at the Office of the
Attorney General for collection and processing of correspondence for mailing with the United
States Postal Service. In accordance with that practice, correspondence placed in the internal
mail collection system at the Office of the Attorney General is deposited with the United States
Postal Service with postage thereon fully prepaid that same day in the ordinary course of
business.
I further certify that some of the participants in the case are not registered CM/ECF users. On
October 25, 2021, I have caused to be mailed in the Office of the Attorney General's internal
mail system, the foregoing document(s) by First-Class Mail, postage prepaid, or have dispatched
it to a third party commercial carrier for delivery within three (3) calendar days to the following
non-CM/ECF participants:

Denise Eaton-May, Esq.
Law Offices of Denise Eaton-May, P.C.
1290 B Street, Suite 316
Hayward, CA 94541

I declare under penalty of perjury under the laws of the State of California and the United States
of America the foregoing is true and correct and that this declaration was executed on October
25, 2021, at Sacramento, California.


                Sondra R. Bushey                             /s/ Sondra R. Bushey
                   Declarant                                         Signature

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